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       1                     UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND
       2

       3   YARON UNGAR, et al               C.A. NO. 00-105 L

       4       Plaintiffs

       5
                     V
       6

       7   THE PALESTINIAN                  DECEMBER 3, 2010
           AUTHORITY, et al                 PROVIDENCE, RI
       8
               Defendants
       9

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      11
                     BEFORE : MAGISTRATE JUDGE DAVID L. MARTIN
      12

      13
           APPEARANCES:
      14

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       1   DECEMBER 3, 2010

       2             THE COURT :    This is the matter of the estate of

       3   Yaron Ungar, et al vs The Palestinian Authority, et al,

       4   Civil Action No. 00-105 L.           There are three motions

       5   scheduled for hearing in this matter this morning .

       6   Those three motions bear the document numbers 572, 583

       7   and 604.     The Court intends to take the motions up in

       8   the order in which I've just announced them.                 The

       9   attorneys will identify themselves , please.

      10             MR. WISTOW:      Max Wistow for the plaintiffs .

      11             MR. STRACHMAN:      David Strachman for the

      12   plaintiffs .

      13             MR. HILL:     Good morning, your Honor.          Brian Hill

      14   for the defendants.

      15             MR. SHERMAN:      Deming Sherman for the defendants.

      16             THE COURT :    Thank you, Counsel .        All right, the

      17   first motion that we're going to take up is document

      18   number 572, the title of which is defendant The

      19   Palestinian Authority's motion to compel answers to

      20   defendant's interrogatories numbers 19 to 21, and

      21   responses to defendants' request for production numbers

      22   23, 25, 26 and 29 to 35.

      23             All right , Mr. Hill, I'll hear you, sir.

      24             MR. HILL:     Hello again, your Honor.          Good

      25   morning .
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       1             THE COURT :    Good morning .

       2             MR. HILL:     Let me start by making a preparatory

       3   remark which is discovery is now closed, and so we're in

       4   the unusual posture of asking you to compel answers to

       5   interrogatories and production of documents at a point

       6   in time when we're unable to do any further discovery

       7   based on any production the Court may order.

       8             I would also note for the Court, as you may have

       9   seen in the docket, that on Monday we separately moved

      10   to exclude from evidence at the January hearing any

      11   witnesses who have not been identified before the close

      12   of discovery, any experts for whom we have not received

      13   expert disclosures, any experts for whom we have not had

      14   the opportunity to take a deposition, and any documents

      15   that have not been produced.            So this motion may have

      16   been overtaken by that subsequent motion of the

      17   defendants .

      18             THE COURT :    I'm going to just interrupt ,

      19   Mr. Hill, on that point.          The Court had earlier

      20   indicated that it would hear this motion on an earlier

      21   date .    When that date came, it had to be rescheduled

      22   because I was ill, I simply want to place that on the

      23   record.     My recollection was that we had a chambers

      24   conference about scheduling.            You indicated the

      25   defendants were eager to have the Court address this
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       1   motion, and were asking to have the Court rule on the

       2   motion on the papers without a hearing, and that counsel

       3   for the plaintiffs, I think it was Mr. Strachman,

       4   indicated that the plaintiffs would like the opportunity

       5   to have a hearing and be heard on the motion, and in

       6   response to that request, the Court said, all right, it

       7   would place the matter down for hearing.               I forget the

       8   exact date but I'm sure the record reflects it, and on

       9   that date regrettably I was ill and, therefore , the

      10   motion had to be rescheduled .           I believe it was

      11   initially rescheduled, I think to Tuesday --

      12             MR. HILL:     This past Wednesday .

      13             THE COURT :    This past Wednesday.

      14             MR. HILL:     Yes, your Honor.

      15             THE COURT :    And then my clerk received word from

      16   Mr. Sherman asking if the motion could be placed on

      17   today's calendar with the other two motions that were

      18   scheduled for hearing, and my response was that was

      19   agreeable with the Court.           I had only put it down for

      20   Wednesday in response to my understanding that

      21   defendants were eager to have it heard as soon as

      22   possible.      I understand that I may have concluded that

      23   two days didn 't make a lot of difference and you'd like

      24   the opportunity to be here in person.              In any event, I

      25   did move it from Wednesday to Friday.              But I felt I
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       1   wanted to put on the record how it came to be that this

       2   motion is being heard on December 3rd and not earlier,

       3   given the fact that the Court had indicated it would

       4   hear it on an earlier date.           All right, you can --

       5             MR. HILL:     Your Honor, I agree with everything

       6   you've said and, in fact, the rationale for us asking to

       7   move it from Wednesday to today is precisely as your

       8   Honor said , just to avoid a second trip up here.

       9             So having said that as a predicate, let me make

      10   clear for the record that the relief defendants are

      11   primarily seeking is the motion to exclude which was

      12   filed on Monday, and I understand that has not been

      13   referred to your Honor, and it's not before you today.

      14   So what your Honor is left to do then is do something

      15   with this motion in light of the fact that it may be

      16   mooted if the Court subsequently grants the motion to

      17   preclude.      And I'm happy to address it with that

      18   understanding and that caveat.

      19             THE COURT :    I want to be sure I understand what

      20   you're saying , Mr. Hill.

      21             MR. HILL:     Yes, your Honor.

      22             THE COURT :    What you're saying is if the motion

      23   to exclude is granted, it moots the motion here.

      24             MR. HILL:     It would moot it in substantial part.

      25   For example, I don't need to know any other witnesses
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       1   that are not going to be called at the hearing .                 I don't

       2   need any further expert disclosures on experts that are

       3   not going to testify at the hearing.              I believe I was

       4   entitled to that discovery during the discovery during

       5   the discovery period and for the reasons your Honor just

       6   articulated we didn 't get a ruling in time for us to do

       7   anything about it.         So our principal relief would be

       8   that these people would not be allowed to testify at the

       9   hearing , and that any documents that haven't been

      10   produced to us before the close of discovery wouldn't be

      11   utilized.

      12             THE COURT :    When you say "these people", which

      13   people?

      14             MR. HILL:     The ten expert witnesses that

      15   plaintiffs have thus far disclosed and any further

      16   witnesses that they would disclose in response to an

      17   order from the Court requiring the compulsion.                 So

      18   here 's what I would suggest.           I would suggest it's

      19   proper for the motion to be granted with the

      20   understanding that I'm not waiving my argument that

      21   these people should be precluded in any event because

      22   they weren 't given to us in time to do discovery.

      23             THE COURT :    Why don't you make your argument on

      24   this motion then .

      25             MR. HILL:     Thank you, your Honor.         So the issue
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       1   appears to be then what the Court intended when it

       2   entered the June 1st order allowing discovery in this

       3   case , and I think it's worth quoting the order, which is

       4   document 489 in the record.           This is the Court's June

       5   1st, 2010 order entered by Judge Lagueux , which says :

       6   "Pursuant to Rule 16 of the Federal Rules of Civil

       7   Procedure, it is ordered that all pre-hearing discovery

       8   be completed by November 19, 2010."              The Court further

       9   orders that counsel present the following by December

      10   17th , 2010 , a typewritten memorandum, and then there is

      11   a description of what the memorandum will include , a

      12   list of exhibits intended to be offered, and there's

      13   some details about how those have to be disclosed , a

      14   list of all witnesses indicating those to testify as

      15   experts , probable length of evidentiary hearing, any

      16   additional matter which counsel feels will aid the Court

      17   in the disposition of the hearing of said action, and

      18   then it says an evidentiary hearing will be held on

      19   January 18 th.      And paragraph 9, of the order says,

      20   failure to strictly comply with this order will result

      21   in appropriate sanctions which may include dismissal or

      22   default .    So there's nothing in the order which says the

      23   defendants cannot discover the identity of witnesses

      24   that the plaintiff will call at the hearing .                There's

      25   nothing in the order that says the defendants cannot
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       1   discover opinions that experts called by the plaintiffs

       2   may offer, or the bases for those opinions, and there's

       3   nothing in the order that says defendants cannot

       4   discover the identity of the exhibits the plaintiffs may

       5   offer at the hearing in January .            The plaintiffs,

       6   however , have taken the position that because of the

       7   procedural posture of the case, which is, as the Court

       8   knows, on a motion to vacate an existing judgment the

       9   normal rules of civil procedure and the disclosure

      10   requirements of Rule 26, in particular, don't apply, and

      11   because the Court has required a memorandum on December

      12   17th that requires disclosure of certain things to the

      13   Court, that therefore the defendants can't discover that

      14   material beforehand .        And I would suggest two things .

      15   First of all, the argument about whether Rule 26

      16   technically applies or doesn't is not relevant to this

      17   particular motion.         It will be to one we talk about

      18   later today I suppose.          But secondly, there's nothing in

      19   the Court's order that says you can't discover who your

      20   opponent is going to call at a hearing.               In fact, I

      21   would suggest that that is one of the very basic things

      22   that civil discovery allows so you can find out who the

      23   witnesses are and then depose them so that when you get

      24   to a hearing you know what they're going to say and you

      25   can efficiently cross-examine them.              Same thing with
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       1   experts , there's nothing in this order that says we

       2   can't find out what their expert opinions are and what

       3   the bases for them are.          There's nothing in the order

       4   that says we can't discover what their exhibits are.

       5   And so I would respectfully suggest that the motion to

       6   compel should be granted with the caveat I gave earlier

       7   that I don't mean to waive the preclusion argument,

       8   which was made in a separate pending motion.

       9             Let me address the second part of the motion

      10   which goes to discovery related to damages.                We have

      11   also propounded an interrogatory, which is interrogatory

      12   number 21, asking the plaintiffs if they contend that

      13   the amount of damages that were previously entered by

      14   the Court in the default judgment would withstand

      15   adversarial testing in this matter, and they have

      16   answered that interrogatory in part and said, yes, they

      17   believe it will.        And they have provided us with some of

      18   the bases for that assertion .           We would respectfully ask

      19   that the Court enter an order requiring them to give us

      20   a full and complete answer to that interrogatory that

      21   tells us the full bases for their contention that the

      22   amount of damages and the default judgment will

      23   withstand adversarial testing.

      24             We have also asked for certain documents relevant

      25   to the amount of damages, and these documents fall into
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       1    roughly two categories .         Documents related to the claim

       2    by the plaintiff that the minor plaintiffs, the children

       3    of Mr. Ungar, have suffered mental injuries as a result

       4    of their father's death, and these are categorically any

       5    mental health records, any medical records, and

       6    preschool or school records.

       7             THE COURT :     Mr. Hill, that I recall you argue in

       8    your memorandum that because the Court found that the

       9    two children would suffer mental illness in the future

      10    you're entitled to this discovery, and the Court found

      11    that the children would suffer mental anguish.                 Is it

      12    your contention that mental anguish is mental illness?

      13             MR. HILL:     Well, your Honor was here in 2002 at

      14    that hearing, I was not, but you did hear expert

      15    testimony from Dr. Alan Brenman who opined that the

      16    children were , among other things, more susceptible to

      17    suffer from mental illness in the future because of

      18    their father's death and so -- and I believe that your

      19    Honor specifically referenced that testimony in the

      20    Report and Recommendation that was subsequently adopted

      21    by Judge Lagueux as the basis for the damage award in

      22    this case.      And so I think, therefore , whether or not

      23    these minor plaintiffs have manifested mental illness is

      24    relevant to the reliability of Dr. Brenman's testimony

      25    that they were more likely to do so.              And we have, in
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       1    fact , submitted an expert report from our own expert

       2    Dr. Eileen Ryan who has said that she does not believe

       3    that Dr . Brenman had an adequate basis, did an adequate

       4    methodological exam of the minor plaintiffs to draw the

       5    conclusions that he then offered to the Court and which

       6    I respectfully submit the Court then took and relied

       7    upon in rendering the amount of damages that were made

       8    by the plaintiffs in this case.            As the Court recalls

       9    was, I believe, $10 million per child before trebling.

      10    So it's a substantial award for people that are

      11    obviously -- I don't mean to minimize the fact that

      12    these children lost their father, but whether or not the

      13    amount of that award is able to withstand adversarial

      14    testing will involve, I think, fairly an inquiry of

      15    whether those minor plaintiffs have suffered any mental

      16    illness as a result of their father's premature death.

      17    And the admissibility of Dr. Brenman's testimony will,

      18    in part , turn on whether or not under Daubert he did an

      19    adequate examination such that he had an adequate

      20    methodology to render the opinions that he gave to the

      21    Court and how much the Court relied at the time.

      22             So I would submit that this is relevant for that

      23    purpose .    And it would be relevant , incidentally,

      24    whether or not we are talking about additional material

      25    beyond what was given to the Court in 2002, as you may
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       1    recall from the October argument when Mr. Rochon was

       2    talking about the need for mental examinations .                Our

       3    position is that the $116 million will not withstand

       4    adversarial testing, and we intend to demonstrate that

       5    through , among other things, expert testimony that shows

       6    those amounts are respectfully too much for the damages

       7    that were demonstrated to the Court in July of 2002.

       8    That will include inquiry about whether the expert

       9    testimony that the plaintiffs presented and how much the

      10    Court relied was admissible and otherwise appropriate

      11    under the Daubert standard.           So these materials will

      12    inform those decisions , and will inform the argument

      13    about whether or not as a matter of fact those amounts

      14    are appropriate.       So I would submit that they are

      15    relevant and we ought to get them even at this point in

      16    the case.

      17             THE COURT :     You may continue or conclude.           It 's

      18    your pleasure .

      19             MR. HILL:     I just wanted to make sure I wasn't

      20    interrupting a forth coming question from the Court.

      21             The other category is related in terms of the

      22    theory of relevance , and it is materials related to the

      23    death of Mr. Ungar.        So these are the autopsy materials,

      24    the police reports, photographs of the crime scene, some

      25    of which we have and some of which were in the record in
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       1    July of 2002.      We're just asking that we get all of that

       2    material so our own forensic pathologist can examine

       3    that material and have the best bases possible for

       4    opining about the reliability of the testimony the Court

       5    took from Dr. Friedman in July of 2002 who, as the Court

       6    may recall , was not a forensic pathologist.               And I note

       7    in this regard that the plaintiffs themselves have,

       8    albeit late in the process, provided us with expert

       9    reports from their own psychiatrists, own psychologist,

      10    excuse me, Dr . Brenman, who apparently intends to

      11    testify .    There's a different issue about whether the

      12    Court is going to allow testimony on this, which I don't

      13    want to get into right now, prepared to testify in

      14    January , and from their own forensic pathologist, who's

      15    prepared to testify in January, and I think fairness in

      16    civil discovery requires that our experts have access to

      17    this material to the extent the plaintiffs have it, and

      18    I therefore respectfully ask that those materials be

      19    compelled as part of this motion, as well.

      20             And I think, unless the Court has questions for

      21    me, I will sit down then and let you hear from the

      22    plaintiffs .

      23             THE COURT :     All right, thank you, Mr. Hill.

      24             MR. WISTOW:      Your Honor, I would like to put this

      25    motion, and the other two motions that your Honor has
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       1    scheduled for hearing today, in context.

       2             What needs to be recalled here is --

       3             THE COURT :     Excuse me, Mr. Wistow.         I just

       4    realized that you didn't state your name when you went

       5    to the podium and it will help whoever transcribes these

       6    proceedings.      Mr. Wistow is recognized.           You may

       7    proceed .

       8             MR. WISTOW:      Thank you.      There's a terrible irony

       9    that the plaintiffs are confronted with in this case ,

      10    and I hope it 's going to become apparent in a few

      11    moments .

      12             This suit was brought in March of 2000.

      13    Discovery was resisted by the defendants and, in part,

      14    was the reason the judgment, final judgment , was entered

      15    against them in July of 2004, which was affirmed by the

      16    First Circuit.       There was a creditor's bill, your Honor

      17    is familiar with that, in 2006, where the defendants

      18    were , in effect, deprived of their stock ownership in

      19    the Palestinian Investment Fund.            There was a motion to

      20    vacate all of this in December of 2007, some two and a

      21    half years after the original judgment was entered.

      22    And, of course, the First Circuit reversed Judge Lagueux

      23    because Judge Lagueux refused to vacate the judgment .

      24    He imposed a per se rule that a willful defaulter cannot

      25    get a vacation or a vacatur of a judgment, and that he
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       1    needed to hear multiple issues.            And, indeed, Judge

       2    Lagueux scheduled discovery in this case, as my brother

       3    has indicated .

       4             What needs to be understood , your Honor, I think

       5    it's very central, is the plaintiffs had achieved

       6    judgment years before.         On October 15th, 2010, six weeks

       7    ago, they, the defendants handed to the plaintiffs their

       8    expert disclosures, and I'd like to hand them up to the

       9    Court.    I don't expect the Court to read them, I just

      10    want the Court to get a sense of the heft of what was

      11    given to us on October 15th.           This was -- these

      12    documents are the principal bases for the request for

      13    the vacatur.        May I hand these to the Court?

      14             THE COURT :     Any objection, Mr. Hill?

      15             MR. HILL:      I don't object to you getting the

      16    documents.      I will respond to the characterization if I

      17    may separately.

      18             THE COURT :     All right.     I'll give you that

      19    opportunity.

      20             MR. HILL:      Thank you.

      21             (PAUSE )

      22             THE COURT :     These were received by the plaintiffs

      23    on October 15 th, is that correct?

      24             MR. WISTOW:      They were sent electronically and

      25    received on October 15th.          They were under a cover
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       1    letter where the defendants purported to tender them

       2    pursuant to Rule 26(a)(2), which requires disclosure of

       3    expert reports 90 days before trial.              That rule, of

       4    course, allows the other side, if it's applicable , to

       5    provide any rebuttal experts within 30 days of receiving

       6    the defendants' disclosures.

       7             By the way, before I talk about our disclosures,

       8    I would like to point out that October 15th is almost

       9    precisely 90 days before the scheduled hearing , not

      10    trial, which was down for January 18th, 2010, almost

      11    precisely that date .        If your Honor wants to take the

      12    trouble , you'll see that every one, every one of

      13    defendants ' expert disclosures, with one exception, is

      14    dated October 15th, the date we got them.               It's clear

      15    that the defendants told their experts not to send the

      16    reports until that last day.           There's one exception, and

      17    that exception, one of the several experts, his report

      18    is dated October 14th.

      19             So, we are confronted then with a disclosure of

      20    multiple expert witnesses in areas that are extremely

      21    unusual , in some respects .         For example, one of the

      22    disclosures, Glen Robinson, an expert, supposed expert

      23    on terrorism, is going to be talking about the effect on

      24    the foreign policy of the United States, is not a very

      25    typical situation.        And there are other expert reports
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       1    very unusual in nature.          We felt, and we still feel,

       2    that Rule 26 is only applicable to experts who are going

       3    to testify at trial , and I make a technical distinction ,

       4    and I'm going to amplify that later, but in an excess of

       5    caution , in an absolute abundance of fear, we said we

       6    better get our experts in within 30 days of that

       7    disclosure to us.        Even though we don't think it's

       8    required, we don't want to take the chance that somehow

       9    the Court will say this is Rule 26 and we violated that .

      10    So within 30 days on November 15th we supplied expert

      11    reports which I would like to hand up to the Court.

      12             THE COURT :     All right, you may do so.

      13             MR. WISTOW:      Again, just for the heft of what was

      14    involved here .

      15             THE COURT :     These were served or transmitted to

      16    the defendants on November 15th?

      17             MR. WISTOW:      That's right.       Within the 30 days

      18    which we don't even believe was required , but in an

      19    excess of caution we did it.           And believe me, I think

      20    your Honor can see there had to be a lot of scurrying

      21    because , for example, one of their experts was a

      22    forensic pathologist, a Dr. Baden, who said that he

      23    believed that the decedent husband died within

      24    approximately two seconds of the attack rather than the

      25    up to 30 seconds as your Honor had found, we had to get
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       1    somebody to rebut that, and we did that, and we supplied

       2    that to the defendants within 30 days.              At the same

       3    time , we were scurrying around trying to respond to all

       4    of the other things they were talking about.                There were

       5    numerous issues that have arisen here.

       6             On top of that, your Honor, on top of that, on

       7    October 29 , 2010 , we received from Mr. Hill the

       8    investigation of the murders by the Palestinian

       9    Authority, I should say the investigation by the

      10    Palestinian Authority, of the murders , something that

      11    should have been supplied to us six years before, more

      12    than six years before.         We got that on October 29th.

      13    And I'd like to hand that up to your Honor.

      14             THE COURT :     You may.     Is there an objection,

      15    Mr. Hill?

      16             MR. HILL:     Again, I'd like to respond to the

      17    characterization , but I understand I'll get a chance to .

      18             THE COURT :     You'll get a chance to make some

      19    remarks .    This was received on October 29th from the

      20    defendants ?

      21             MR. WISTOW:      Yes, your Honor, and I'm enclosing

      22    the cover letter .       Now, if you stop and think about what

      23    is going on here , this is a case where we have a

      24    judgment.      It was by default , in part, because there was

      25    no adequate disclosure , years ago.            We're now in a very
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       1    compressed period struggling , struggling , to comply with

       2    the massive requests that have been put upon us.                 At the

       3    same time we're trying to get discovery out of them.                      At

       4    the same time , there was, I don't know if your Honor is

       5    aware of this , there was a motion to intervene by the

       6    Palestinian Investment Group for the administrative

       7    employees of Gaza.        That was heard in front of Judge

       8    Lagueux .    He denied that.       That's on appeal.        There's a

       9    myriad of activities that have been going on here.

      10    We're doing our very best to stay current, and we're

      11    confronted with a response by these defendants that our

      12    responses to their discovery is not as rapid as they

      13    expect.

      14              They talked about a psychologist, Dr. Ryan, that

      15    they 've hired .     Dr. Ryan has put in a report that

      16    basically says that she disagrees with the methodology

      17    that was used by our expert, that it was not a

      18    sufficient forensic evaluation.            We had to prepare a

      19    rebuttal for that.        Bear in mind, your Honor, we only

      20    got this October 15th.         We prepared a rebuttal for that .

      21    They brought in a pathologist, Dr. Baden, on October

      22    15th .    We had to get a rebuttal for that.            They brought

      23    in two experts, supposedly experts , on Israeli law, a

      24    Messrs, lawyers in Palestinian Authority , Dahleh and

      25    Shehadeh.     We had to get, and we did get, within 30
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       1    days , responses, expert reports , disputing what their

       2    experts said.

       3              On November 4th, your Honor, November 4th, the

       4    defendants amended their answers to interrogatories and

       5    added four new witnesses, Mohammad Dahaln, Hiba

       6    Husseini, Rafik Husseini, Afif Safieh.

       7              On November 11th, the defendants added three more

       8    witnesses in their amended answers to interrogatories,

       9    Yousef Qaddah , Hassan Asfour, Mazen Jadallah, and

      10    specifically said in their answers to interrogatories on

      11    November 11th when they entered this, that they reserved

      12    the right to add additional witnesses up through and

      13    including the time of the January hearing.

      14              At the same time while all of this is going on,

      15    not only are we confronted with the appeal in the First

      16    Circuit on the motion to intervene , we're fighting about

      17    collection efforts in other ports to try to preserve the

      18    attachments and restraints we have in various other

      19    places.     We've done , I believe, a yeoman's efforts.

      20              Let me say specifically what the motion to compel

      21    is about.     It 's about interrogatories 19 through 21, and

      22    let me specifically address what they've asked for.

      23    They 've asked for in 19 the witnesses at the hearing .

      24    We've given them our experts reports.              We fully expect

      25    that everyone of those experts will be witnesses at the
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       1    hearing .     We've written to them and said please consider

       2    these experts as witnesses pursuant to the answers to

       3    the interrogatories .        As far as I know at the moment , at

       4    the moment I stand here, your Honor, there's one

       5    possible fact witness that we're trying to get.                 I can't

       6    say we're going to be able to do it, but we've disclosed

       7    what we know at this moment.           There's been no

       8    requirement other than answers to interrogatories that

       9    we make these disclosures .

      10              Number 20 is the experts .        We've made a full

      11    disclosure of the experts .          I don't know what else we

      12    can do.

      13              Then they 've asked us in interrogatory number 21

      14    for the factual basis that we have if we contend that

      15    the amount of the verdict would withstand adversarial

      16    testing .     Our response to that has been two-fold: One,

      17    we've said that that issue is foreclosed , whether or not

      18    it would withstand adversarial testing, and indeed, we

      19    have a motion pending, a motion in limine, to exclude

      20    any evidence attempting to challenge the amount of the

      21    award.      And the reason we have that, your Honor, is

      22    after your Honor made the recommendation to Judge

      23    Lagueux for the $116 million total, the defendants

      24    expressly specifically objected to the amount of the

      25    award to Judge Lagueux.          And I'll read you from their
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       1    objection.      Defendants -- this is verbatim.            "Defendants

       2    PA and PLO object to the report's recommendation that

       3    multi-million dollar amounts be awarded as compensation

       4    for the death of one person in the context of an ongoing

       5    conflict in which thousands of innocent civilians on

       6    both sides have been killed without any hope of

       7    compensation."       And it goes on.       Compensation on such an

       8    excessive scale is inappropriate particularly in the

       9    case of a person living permanently in Israel or

      10    Palestine during the ongoing Israeli Palestinian

      11    conflict, et cetera .

      12             THE COURT :     Mr. Wistow, do you have a document

      13    number for what you just read from?

      14             MR. WISTOW:      Yes, I do, I do, your Honor.           Bear

      15    with me .

      16             THE COURT :     You can provide it after the hearing.

      17             MR. WISTOW:      Your Honor, I can give it to you

      18    right now.      It's document 271.        It was sent by

      19    Mr. Sherman on April 19, 2004.

      20             THE COURT :     Do you have a page number, by chance ?

      21             MR. WISTOW:      Of the quote?

      22             THE COURT :     Yes.

      23             MR. WISTOW:      Yes, I do.      It's on page 3.

      24             THE COURT :     Thank you.

      25             MR. WISTOW:      So, you know, I'm not going to stand
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       1    here and tell your Honor they did a very good job

       2    challenging the amount, but they challenged the amount

       3    expressly, and Judge Lagueux denied their objection to

       4    your Honor 's recommendation.          And when they went up to

       5    the First Circuit, on the initial appeal, the First

       6    Circuit noted the defendants have, and I quote, 402 F3rd

       7    282, "The defendants have not challenged either the

       8    measure of damages utilized by the lower court or the

       9    integrity of its mathematical computation."                Now, it 's

      10    true , it's true, that when the case was appealed the

      11    second time to the First Circuit, what I mean by that is

      12    after the motion to vacate was filed in December of 2007

      13    and was denied by Judge Lagueux , and the case went up

      14    again to the Circuit, at oral argument, for the very

      15    first time , it was not in anybody's briefs, for the very

      16    first time there was a discussion about the amount of

      17    the judgment, and my brother , Mr. Strachman , who argued ,

      18    has no more the ability of total recall than I do, and

      19    he had quite forgotten that this issue was fully

      20    addressed before , and the Court made some comments about

      21    would this withstand adversarial testing , et cetera, but

      22    it was never argued before the Court, and it is now the

      23    subject of a motion in limine before Judge Lagueux.                  Now

      24    it's true, the First Circuit has sent this thing back

      25    for a "holistic" approach , but there are certain things
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       1    that I submit cannot be reviewed again, should not be.

       2    For example, the First Circuit held there was

       3    In personam jurisdiction over the PA and PLO.                Can it be

       4    because there 's a resubmission of the case that we're

       5    going to relitigate whether there's personal

       6    jurisdiction?      No, because the First Circuit held there

       7    was.    That was litigated.

       8             Sovereign immunity , that cannot be relitigated,

       9    in my opinion.       That was adjudicated.         Whether there was

      10    a political question or not cannot be adjudicated .                 The

      11    fact of the matter is the issue of the amount was

      12    litigated, perhaps not very well but it was litigated,

      13    and I submit that it is absolutely too late, and that

      14    what 's going to happen, I hope, is when Judge Lagueux is

      15    confronted with this issue, he's going to say the

      16    Circuit has asked me to look at all these issues, this

      17    is an issue that has been adjudicated , and it's not

      18    open , and for that reason I suggest that we have a

      19    legitimate reason for not answering the questions on

      20    damages .

      21             Now, I hope I don't overstep my time here, your

      22    Honor, but these are very important issues, obviously,

      23    and I'd ask for the Court's indulgence.

      24             The specific -- we went on, by the way, to answer

      25    the interrogatory about damages , and we said
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       1    notwithstanding that we think it's foreclosed, we

       2    specifically said what we relied on to support the

       3    award, and we expressly stated that it was the testimony

       4    before your Honor, your Honor's decision , and that's

       5    what we rely on.

       6             THE COURT :     Well, their complaint , Mr. Wistow , as

       7    I recall, was the phrase inter alia, meaning among other

       8    things, and the suggestion that although you identified

       9    three items, or however many it was, the phrase inter

      10    alia , I guess , concerned them that you would spring

      11    something on them at the hearing.             You want to address

      12    that part of their complaint ?

      13             MR. WISTOW:      Well, let me say this, I can't think

      14    of what else we're going to put in at this point, and if

      15    we do come up with something , I represent to you we will

      16    instantly identify it.         I don't know what else to say.

      17             THE COURT :     The other part of their complaint was

      18    that you, I believe, cited numerous decisions in

      19    terrorism cases and yet you used the phrase numerous

      20    decisions and yet you cited only one case.

      21             MR. WISTOW:      If the Court wants me to give a

      22    citation of legal cases, we can do that in a few days, I

      23    suppose .    I mean --

      24             THE COURT :     I'm just observing at this point,

      25    Mr. Wistow , what they complained about.
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       1             MR. WISTOW:      I just don't see that, you know, I'm

       2    required to cite law to support it.             If that's what it

       3    comes down to , and if it makes everybody more

       4    comfortable that we're trying to comply, you know, give

       5    us a reasonable time and we'll do that.

       6             THE COURT :     Your point, Mr. Wistow, is you don't

       7    feel you have to give them anything on the issue of

       8    damages because they're precluded, but notwithstanding

       9    that , you have told them the basis for your position

      10    that you believe the amount of damages will withstand

      11    adversarial testing for these reasons , that's your

      12    position.

      13             MR. WISTOW:      Absolutely.      Not only in that

      14    answer, but we gave two expert reports to support what

      15    the testimony had been before and what your Honor had

      16    decided , that would be Dr. Fanning , the pathologist, and

      17    Dr. Brenman, the psychologist, so they have those

      18    reports .    I really don't know what else I could do.

      19             Now, they also -- you know, they talk about in

      20    their request for production of documents, which we

      21    haven't addressed, they want all the documents that we

      22    intend to put into evidence.           At this point in time,

      23    your Honor , other than what the experts are saying, I

      24    honest to goodness, I'm not sure what we're going to put

      25    in.   And my excuse for that, my reason for saying this
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       1    at this stage is we continually are getting things -- I

       2    mean , look at this, October 15th was when we got these

       3    complex disclosures .        We got disclosures as late as

       4    November 1st -- November 11th, I'm sorry.               I'm mindful

       5    of our obligations under the rules to update

       6    interrogatories on a reasonable basis, and we're ready

       7    to do that instantly, we really are.              And, in any event ,

       8    we have to do that by December 17th which is two weeks

       9    away anyway from the Judge's -- Judge Lagueux's

      10    disclosure .     They also ask us for documents that were

      11    provided by the plaintiffs or relied on by the witnesses

      12    for the July 2000 damage hearing.             We've given a

      13    privilege log and indicated that the great bulk of this

      14    is correspondence between Mr. Strachman and the

      15    individual plaintiffs and we've given you a privilege

      16    log on that.

      17                    THE COURT:     How many documents,

      18    approximately , are at issue do you think, Mr. Wistow ,

      19    there?

      20                    MR. WISTOW:      Under that category, I'm going

      21    to say 15 maybe something like this.              Does that sound

      22    right?    And we've provided a privilege log.

      23                    THE COURT:     The defendant cites some case

      24    law that says there 's a trend or a modern view, or an

      25    emerging view that all communications between counsel
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       1    and expert witnesses should in fact be disclosed because

       2    apparently I guess the rationale would be it bears on

       3    the opinion of the expert or at least it should be

       4    material available to the other side to fairly

       5    cross-examine the expert.          Do plaintiffs disagree with

       6    the case law or that it's a merging trend, or I disagree

       7    with the proposition being advanced by the defendants.

       8    Would you comment on that, Mr. Wistow.

       9                    MR. WISTOW:      Yes.    I think the trend is in

      10    that direction but what's significant here is the

      11    documents that we have from experts which are on the

      12    privilege log, are from two experts who are not going to

      13    testify at the hearing.          Professor Friedman and Doctor

      14    Ziderman (phonetic spelling), who is the economist who

      15    gave testimony.

      16                    THE COURT:     And who was Ziderman --

      17    Professor --

      18                    MR. WISTOW:      He was the economist.

      19                    THE COURT:     And who was the other person ?

      20                    MR. WISTOW:      The other one was Friedman who

      21    testified about the shooting and he was a physician who

      22    testified about the pain and suffering.               Neither one is

      23    going to be testifying here.            SO I mean, it's just very

      24    bizarre to ask for the expert reports .             Let me suggest

      25    this , your Honor .      We've given your Honor a privilege
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       1    log, if your Honor requires us to turn those over, you

       2    know , we'll -- of course, we'll turn them over.                It just

       3    seems to me totally inappropriate.             You know, one of the

       4    problems we've have is trying to keep our head above

       5    water trying to get ready for this case and it was --

       6    we've been -- we don't have the resources that the

       7    Palestinian Authority has that is a, you know, a quasi

       8    government and they 've pulled out all the stops and

       9    we're just trying to, as I say, keep our head above

      10    water.    If your Honor -- what can I say?             If your Honor

      11    feels that the reports of the two experts who will not

      12    be at the hearing should be disclosed we'll disclose

      13    them .   I think that they shouldn't be because they're

      14    not going to be experts at this hearing.               In any event,

      15    the remaining , the remaining documents they want are the

      16    psycological records of the kids, the medical records of

      17    the kids, the daycare and preschool records , the school

      18    records , all of those things.          What is that going to

      19    prove?    If your Honor recalls, and I know you do, the

      20    testimony of the expert, Dr. Brenman on the children was

      21    very simple.      I don't want to say superficial, but it

      22    almost was.      It was almost common sense.           He said that

      23    an 8 month old baby and a 20 month old baby to be

      24    suddenly deprived of their father represents

      25    psychological trauma.         He stands on that, he'll be back
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       1    to testify to that, he's not saying he did some

       2    extensive research with these kids.             He stands on that,

       3    that 's what he's going to say.           He went on to say that

       4    children who lose their parents under certain -- at an

       5    early age are at greater risks for psychological

       6    problems in the future which he said was hard to

       7    quantify and didn't attempt to quantify.               It's almost

       8    like common sense but he's prepared to come in and

       9    substantiate that and he will.            What are we going to do ?

      10    Are we going to get into a situation where we evaluate,

      11    well , did the risk come into being?            Didn't it?      In

      12    other words, are these kids doing well today, are they

      13    doing badly?      Are we going to open this whole thing up?

      14    What if it turns out they're doing badly today, can we

      15    increase the award?        I suggest not because what happened

      16    is you put in a case based on what the situation is at

      17    the time.     Now your Honor was fully aware of the

      18    relative limitations of the testimony .             He was not

      19    saying that these kids will have psychological problems .

      20    And if your Honor rereads your opinion you'll see that

      21    you were aware that he did not -- you said there was an

      22    increased risk.       What shouldn't be forgotten here is a

      23    great deal and I don't know how much of the award was

      24    the loss of society and companionship.              They want to

      25    make a big deal out of the psychological injury which
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       1    the plaintiffs never even made a big deal out of.                  And

       2    never said anything but that there were increased risks

       3    which we'll prepared to prove at the trial if it becomes

       4    necessary if we have to get into that.              Besides all of

       5    that the defendants themselves have said in their papers

       6    that they've agreed to freeze the issue of the damages

       7    as of the 2002 hearing.          So, I can't imagine, what in

       8    the world are we doing with the school records if the

       9    damages are to be frozen as of 2002?              You know, Judge,

      10    the psychiatrist they've brought in, and I've read the

      11    report very carefully, doesn't say these kids are at

      12    that increased risk , doesn't say that they didn't have

      13    trauma.     What it says is Brenman did not do a forensic

      14    examination, a true forensic examination , and by the

      15    way, he agrees with that that's in the report we've

      16    submitted to them he did not do a forensic examination.

      17    He gave limited testimony to the Court which was solid,

      18    which was correct, and which was adopted by the Court.

      19    The defendants also insist that we produce the crime lab

      20    material that we have.         All I know, Judge, is we've

      21    given them everything we had.           They want forensics,

      22    we've given them everything that we have, they want some

      23    color photos, that's -- we've given them everything we

      24    have .    They themselves admit, your Honor, on Page 5 of

      25    their reply to our objection to the motion to compel .
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       1    They admit their Rule 26(a)(2) does not apply in this

       2    situation.      All we have is, have we complied with

       3    answers to interrogatories and the like.               All I can tell

       4    your Honor is we've, we have done everything we possibly

       5    can.     If your Honor feels that there's more that we must

       6    do, yup we will move heaven and earth to do it.                 I don't

       7    know what else to say.         I hope, for example , we're not

       8    ordered to get school records in five days or something

       9    like that in Israel for the various reasons I've stated

      10    and also the time constraints.            But, you know we've put

      11    in timely objections, we've put in objections in good

      12    faith.     And for all these reasons, your Honor, in

      13    considering the context that we're in we were trying to

      14    get discovery to these people for years and we couldn't

      15    do anything and now we're approached.              I respectfully

      16    ask that your Honor understand the difficulties that

      17    we've had in this case.          Thank you, your Honor.

      18                    THE COURT:     Thank you, Mr. Wistow.          Mr. Hill

      19    I don't want to derail your thoughts but I can tell you

      20    I am interested in hearing your response to the argument

      21    that you really are precluded from relitigating the

      22    issue of damages having previously challenged

      23    unsuccessfully the amount of the damages so I'd like to

      24    have you address that.

      25                    MR. HILL:     Your Honor would like me to start
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       1    with that issue?

       2                    THE COURT:     Yes.

       3                    MR. HILL:     I'd be glad to.       This precise

       4    issue is the subject of the plaintiffs', I believe it's

       5    called second motion in limine which is not before your

       6    Honor today.      And let me make a conceptual point and

       7    then I'm happy to address the merits if the Court wants

       8    me to.    So your Honor is being asked to rule on a

       9    discovery motion that material will not be admissible at

      10    the hearing.      There is a --

      11                    THE COURT:     Well, I don't think so.

      12                    MR. HILL:     Okay.

      13                    THE COURT:     I think that's an overstatement,

      14    Mr. Hill.      I understand you're saying that if I deny

      15    that portion of your motion to compel on accepting the

      16    plaintiffs ' arguments if Judge Lagueux agrees with that

      17    that rationale, then one could trace how that result

      18    came about .     But what the plaintiffs are saying as I

      19    understand it , that as to those requests that go to the

      20    amount of damages it should be denied because you really

      21    cannot relitigate in the context of a motion to vacate

      22    an issue that you've already litigated.

      23                    MR. HILL:     Yes.

      24                    THE COURT:     So I didn't mean to cut you off

      25    but I, it sounded as if to me you were saying or
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       1    suggesting that I not reach this issue in the context of

       2    this motion and that I allow, if Judge Lagueux doesn 't

       3    refer that motion in limine to me allow Judge Lagueux to

       4    make that decision.         And you're nodding your head as if

       5    --

       6                    MR HILL :    I'm nodding, yes.        Your Honor, is

       7    still speaking I don't want to interrupt .

       8                    THE COURT:     Well, then tell me about that

       9    I'm always interested if I should defer --

      10                    MR. HILL:     Here's the issue.        This could

      11    play out in one or two ways.           Your Honor could deny our

      12    motion to compel and not give us this material .                If

      13    Judge Lagueux grants the motion in limine then we'll be

      14    arguing on appeal, I suppose , that Judge Lagueux erred

      15    in granting the motion in limine, and we won't get to

      16    put that evidence on at the hearing, and I suppose the

      17    motion, however the motion goes, and somebody appeals,

      18    that will be an issue for the First Circuit to resolve.

      19    If, however, you deny our motion to compel, and Judge

      20    Lagueux denies the motion in limine, then we're in a

      21    posture where we're having a hearing in January on an

      22    issue that the district court has ruled is admissible

      23    but we don't have the discovery , and that's going to

      24    affect the ability to do the hearing in January.                 So

      25    this is a little bit like Pascal's wager, to a certain
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       1    extent, right ?      If your Honor orders this discovery, and

       2    this was the first time I heard anything about a burden

       3    associated with it, I'm not even sure there's an

       4    objection about burdensomeness, but presumably the

       5    plaintiffs can produce it, or can produce a reasonable

       6    amount of it, and will have it.            If Judge Lagueux grants

       7    the motion in limine, there's no harm done.                It's not

       8    coming into the hearing.          The problem is the other side

       9    of the coin.      If your Honor denies our motion to compel ,

      10    and we don't have the evidence, then Judge Lagueux is

      11    going to have to make findings based on the hearing in

      12    January when everybody seems to agree this would be

      13    relevant to the issue of whether the damages would

      14    sustain adversarial testing, and that evidence won't be

      15    before him.      And so that's the problem with denying it

      16    on the basis that it's unlikely to be admissible at the

      17    hearing , and that's why I would suggest, as your Honor

      18    suggested I was suggesting, that you not reach that

      19    issue, but you instead just rule in accordance with, by

      20    the way, if there's repeating, the order that your Honor

      21    entered in July, which was not appealed to Judge

      22    Lagueux , that it is permissible to have discovery on

      23    this issue , and I can just remind the Court of that

      24    history , and I'm sure you're aware of it, but early on

      25    in the discovery period there was a suggestion at a
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       1    hearing both off the record and on the record, I

       2    believe , by Judge Lagueux , that he had a concern about

       3    whether this was a legitimate area of discovery, and we

       4    filed a motion seeking leave of court to take discovery

       5    on this very issue, and the plaintiffs' filed an

       6    opposition where they said, you know, we don't agree

       7    it's relevant but we don't want to hand the defendants

       8    an issue on appeal so we don't oppose the motion, and

       9    your Honor ruled that the motion was unopposed and

      10    granted it .     So if the subject matter that your Honor is

      11    being asked to rule on now is whether there should be

      12    discovery on whether damages will withstand adversarial

      13    testing , you decided that in July.            You decided the

      14    answer was yes, and so I respectfully suggest that the

      15    only issue your Honor ought to be addressing with

      16    respect to damages discovery now is whether the

      17    particular discovery that is before you is appropriate.

      18    And we litigated this on the issue of mental

      19    examinations in October.          Your Honor concluded that they

      20    would be too burdensome on the plaintiffs and didn't

      21    allow them , and that was consistent with your Honor's

      22    ruling that, you know, the general subject matter may be

      23    relevant but this particular discovery is not.                 So the

      24    particular discovery before you, I would suggest, is not

      25    unduly burdensome.        In fact, Mr. Wistow has said he was
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       1    prepared to answer the interrogatory.              He said he's

       2    prepared to produce the communications with the experts

       3    who testified at the prior hearing .            He's told me for

       4    the first time today that he's given me all the

       5    information on the pathology and on the crime scene,

       6    anyway.     So really the only issue is how much of the

       7    children's material is it reasonable for them to produce

       8    to us in the admittedly short amount of time that we

       9    have left, and I would suggest that the Court can order

      10    that they can give us what's reasonably available .

      11    Presumably the custodians of the children have this

      12    material, and it's not hard to get, or they can get it

      13    from the children's school.           So that's how I would

      14    suggest your Honor deal with this.

      15              Now, if your Honor wants me to address the merits

      16    of the motion in limine, I admittedly wasn't prepared to

      17    do that .    I can do it as best I can, and I'd refer your

      18    Honor to our opposition brief and ask your Honor to read

      19    that before you rule on the issue, but I really would

      20    suggest to the Court that sitting in the context of the

      21    discovery motion the better practice would be to rule on

      22    the merits of the discovery motion without attempting to

      23    essentially prejudge what the district court may do on

      24    the motion in limine.         Have I adequately addressed the

      25    Court's concern?
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       1             THE COURT :     You have, Mr. Hill.

       2             MR. HILL:     Thank you, your Honor.          Let me return

       3    to the batting order in which things came up.                I just

       4    want to address some things in the order that Mr. Wistow

       5    addressed them.

       6             Mr. Wistow suggested that the material we served

       7    in the form of our expert reports was, I don't think he

       8    said it , but there was a notion that maybe we had done

       9    something improper and I wanted to just be clear that I

      10    don't believe we have.         We provided those materials at

      11    the date they were due under Rule 26(a)(2),

      12    approximately 90 days, a little more, technically , than

      13    before the hearing on January 18th, so those were timely

      14    disclosures.      We believe we were required by the rules

      15    of discovery to produce them, so I'm not sure what the

      16    basis would be to complain about them.

      17             He also suggested, and this is why I wanted to

      18    clarify that these were the principal bases for a

      19    vacatur , I would suggest that's an

      20    over -characterization.        We have, I believe, six expert

      21    witnesses.      We disclosed a number of fact witnesses.                  We

      22    produced a number of documents, including as Mr. Wistow

      23    alluded to , the Palestinian Security Services own

      24    investigative file of the people who killed the Ungars,

      25    so there's a substantial amount of evidence that we've
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       1    produced and will be relying on that at the hearing in

       2    January .

       3             He also suggested that we first produce the

       4    investigative file on October 29th.             He did not give me

       5    a copy of what he handed your Honor, but if your Honor

       6    could look at that, or if I could see it, I believe that

       7    bates range was produced --

       8             THE COURT :     Miss Saucier , this is the third

       9    document, I believe.         Show that to Mr. Wistow to make

      10    sure that that's the document that he handed up third.

      11             MR. WISTOW:      It is, your Honor.

      12             THE COURT :     All right.

      13             MR. HILL:     Okay.     Your Honor, what this says then

      14    is it's material that is in both Arabic and certified

      15    translation in English.          The Arabic materials were

      16    produced on September 27th which was the response date

      17    for the third request for production of documents .                 We

      18    produced the original materials on the day in response

      19    to the third request which we'll be arguing about later

      20    today, on the day they were due.            It did take us some

      21    time to get the certified translation , and we provided

      22    that on October 29th.          So the plaintiffs have had this

      23    material since September 27th, albeit it in a foreign

      24    language, which was one of the issues in the case.                  I'm

      25    happy to tender this back to the Court.
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       1             THE COURT :     Please do so.

       2             MR. WISTOW:      I'd like the Court to take judicial

       3    notice I don't speak or read Arabic, either.

       4             MR. HILL:     Neither do I, and I also don't speak

       5    or read Hebrew, but that's an issue in the cases,

       6    unfortunately .

       7             So, you know , I'm not sure that there -- I mean,

       8    if delays and translations it's the nature of the case,

       9    there's nothing improper with us producing the certified

      10    translations in October, having given them the original

      11    Arabic on the date the response was required.                And, of

      12    course, we are I note, of course as everybody agrees ,

      13    required to supplement by rule, and so the fact that

      14    we've supplemented our interrogatory responses with

      15    additional witnesses as we've identified them is what

      16    we're supposed to do.         So there's nothing wrong there.

      17             With respect to the plaintiffs ' experts ,

      18    Mr. Wistow said they've now given you the reports and

      19    given us the reports for the witnesses they're going to

      20    call .   Again, if I may look at what was given to the

      21    Court, I just have a question about it because there was

      22    a late report .      I'm not sure if it's part of that

      23    package .

      24             THE COURT :     Miss Saucier , give it to Mr. Hill .

      25    Mr. Hill, show that to Mr. Wistow to make sure that's
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       1    what was handed up second.

       2             MR. WISTOW:      It is, your Honor.

       3             THE COURT :     Thank you.

       4             MR. HILL:     Your Honor, there was -- I believe I

       5    received one report on November 12th, one on the 13th,

       6    four on the 15th, and then I received a report, which is

       7    the last one in this package , on November 24th, which is

       8    after the close of discovery .          So just so the record is

       9    clear, one of these was not even given to us until after

      10    discovery had closed, and that's the report of

      11    Dr. Boaz, B-O-A-Z Shnor, S-H-N-O-R.

      12             THE COURT :     Miss Saucier , give the sticky to

      13    Mr. Hill and ask him to just attach that sticky to the

      14    document that he says he got on November 29th.

      15             MR. HILL:     I believe the Court said the 29th.                 It

      16    was the 24 th.     It was the day before Thanksgiving .

      17             THE COURT :     Thank you.

      18             MR. HILL:     So if, in fact, and let me make this

      19    point, the plaintiffs have also identified three other,

      20    I guess , potential expert witnesses for whom we have not

      21    got reports or interrogatory responses.               I wasn't

      22    entirely clear from what Mr. Wistow said whether those

      23    three people are going to be called at the hearing or

      24    not.    If they 're not, obviously I need their

      25    interrogatory responses and their reports against the
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       1    eventuality that they're allowed to testify so I can

       2    properly examine them otherwise I don't have any idea

       3    what they would say, and for that reason, unless

       4    Mr. Wistow has taken those folks off the table, we're

       5    going to need an answer to the pending interrogatory.

       6    So all this points up the fact that the plaintiffs ought

       7    to give us a clear final answer to the interrogatory,

       8    and we ought to get it respectively before the 17th of

       9    December because on December 17th, two weeks from today ,

      10    we have to file our pre-hearing memoranda, and in order

      11    for us to effectively inform Judge Lagueux of who we 're

      12    going to call , what exhibits we're going to use, it

      13    would obviously be helpful to know who they're going to

      14    call and what exhibits they're going to use.                And

      15    Mr. Wistow talked with respect to exhibits that he

      16    wasn 't quite sure yet what they were going to use.

      17    Well , if he files a brief on the 17th of December that

      18    says here are my exhibits , and I have to file a brief on

      19    that same day saying here are my exhibits, obviously

      20    it's going to be very difficult for us to ensure that

      21    we've got the right exhibits that respond to theirs.                      So

      22    I would respectfully request that the Court enter the --

      23    grant the motion to compel, order them to provide us

      24    with all the documents they're going to use, sometime

      25    reasonably before December 17th, identify any other
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       1    witnesses.      He mentioned there was a fact witness who

       2    may be out there .       I obviously don't have a chance to

       3    depose that person.        I'm maintaining my right to

       4    preclude them , but I ought to know who they are so that

       5    I can, you know, if there's a document I need to put on

       6    my exhibit list, or a witness I need to put on my

       7    witness list.      If I don't know who they are, there's no

       8    way for me to do that.         And again, this all goes to

       9    efficiently helping Judge Lagueux know what's going to

      10    happen in January.        I think those are reasonable

      11    requests and they ought to be ordered .

      12             Let me make a couple other points about damages.

      13    With respect to the communications with the experts.

      14    Those documents are on a privilege log the plaintiffs

      15    provided to us, and your Honor mentioned -- I don't

      16    think there's a serious legal dispute about the

      17    discoverability of that material, at least prior to the

      18    amendment to the rule, and so we'd like to get those

      19    materials.

      20             THE COURT :     Mr. Hill, when you say prior to the

      21    amendment to the rule, which amendment --

      22             MR. HILL:     Nobody's mentioned it yet.           Rule 26

      23    was amended effective yesterday , and so under the

      24    implementation provisions of that, it applies to cases

      25    filed after yesterday, and whatever the standard
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       1    language is, you know, to the extent consistent with

       2    equity to pending cases.          Now, nobody has argued that

       3    you ought to apply the new rule to this, particularly

       4    where these communications took place in 2002, we asked

       5    for them long before December 1st, the motion was ripe

       6    long before December 1st.          You know, we're only here

       7    because of the accidents of people's timing and so

       8    forth, so unless there's some request , I don't think the

       9    Court ought to consider the current rule.               But there are

      10    -- these are documents 18 to 25 on their list.                 It

      11    obviously wouldn 't be very difficult for them to produce

      12    them , and they're listed on page 13 of our brief which

      13    is document 572.       So I would request that the Court

      14    order those.

      15             Now, Mr. Wistow made the point --

      16             THE COURT :     Which requests are you referring to,

      17    Mr. Hill?

      18             MR. HILL:     Well, I'm talking about the

      19    plaintiffs ' privilege log regarding defendants ' request

      20    number 25 and 26.        The pertinent portion is reprinted on

      21    page 13 of our motion to compel, which is document 572.

      22             THE COURT :     So you're asking the Court order that

      23    the documents listed in the privilege log be produced to

      24    you?

      25             MR. HILL:     Yes, your Honor.        And now Mr. Wistow
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       1    makes a point that the two experts that these pertain to

       2    will not be testifying in January.             That doesn't mean

       3    they 're not relevant because , again, assuming your Honor

       4    is not going to rule that there won't be any evidence on

       5    damages , and whether they would withstand adversarial

       6    testing at the hearing in January.             These experts

       7    presented testimony to your Honor on which you relied in

       8    fashioning the damages amounts, and the admissibility of

       9    that testimony, the reliability of that expert

      10    testimony, will be one of the issues that is confronted

      11    in January, assuming we get to litigate the issue of

      12    whether the damages will withstand adversarial testing.

      13    So they would be relevant even though those people won't

      14    be appearing.

      15             On the documents related to the children, when

      16    you're talking about whether the damages are likely to

      17    withstand adversarial testing, the issue is, is the

      18    amount of money awarded appropriate for the amount of

      19    damages the children sustained, and I respectfully

      20    submit that there's a real question here that wasn't

      21    adequately developed in the prior record and we ought to

      22    have an opportunity to develop it at the hearing in

      23    January .    These children were quite young at the time

      24    their parents were killed, and as Dr. Ryan points out in

      25    her report , the fact that someone is an orphan doesn 't
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       1    automatically translate into them having a mental

       2    illness , and your Honor had expert testimony at the time

       3    about the likelihood of that, and I submit relied on

       4    that in fashioning a damages amount, and what actually

       5    happened to the children as they have grown will

       6    obviously inform the reliability of a prediction that

       7    they would have mental illness, and Mr. Wistow suggested

       8    that perhaps -- and again, we don't have any of this

       9    information so I don't know whether it's true or not ,

      10    what if one of these children has developed a mental

      11    illness , well , that would obviously be pertinent.                But

      12    the point I would make is this, your Honor made

      13    identical awards for both children .            If one has

      14    developed mental illness, and another has not, that

      15    might be an argument about why the award shouldn't be

      16    identical.      And so I submit that this is clearly

      17    relevant and would a Judge Lagueux in making

      18    determinations about whether these amounts are likely to

      19    withstand adversarial testing and I therefore ask that

      20    -- I'm not asking for something unreasonable but to the

      21    extent that these documents are reasonably available to

      22    the plaintiffs that they be produced to us before

      23    December 17th so we can utilize them at the hearing to

      24    the extent the Court allows argument on that issue.

      25             And on the last point about the pathology reports
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       1    and crime scene reports.          Mr. Wistow has said we have

       2    everything they have.         There's one issue about whether

       3    we have color copies of all the photos, but we can work

       4    those out amongst ourselves.           So based on counsel 's

       5    representation that they've produced everything they

       6    have , I don't see a reason for the Court to compel

       7    material that they've on the record said they don't have

       8    anymore .

       9             Unless the Court has questions for me, I think

      10    I'm ready to conclude on this motion.

      11             THE COURT :     All right, Mr. Hill.

      12             MR. HILL:     Thank you, your Honor.

      13             MR. WISTOW:      May I respond very briefly , your

      14    Honor?

      15             THE COURT :     Very briefly .

      16             MR. WISTOW:      The motion that my brother referred

      17    to, to conduct discovery regarding damages, we expressly

      18    preserved, expressly preserved, all objections of any

      19    nature whatsoever regarding any questions put that's in

      20    the Court's documents.         We simply said there was no

      21    reason that we wanted to fight about this at that time

      22    but preserved every single objection which we are now

      23    making on a timely basis.          To require us to turn over

      24    the experts reports that are on the privilege list,

      25    experts who are not going to testify, almost certainly
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       1    invites us to now bring those experts in because who

       2    knows what ambiguities are going to arise out of looking

       3    at say raw data or materials that are used without the

       4    person there.      What is suppose to happen with those

       5    documents?      It just intrudes in this case another

       6    unnecessary complication.

       7             Finally, and I can't emphasize this too strongly ,

       8    your Honor , nobody ever said, neither our expert

       9    Dr. Brenman nor your Honor, ever said that these

      10    children would have mental illness .            No one ever came

      11    close to that .      All it said was the loss of a parent

      12    increases the risk.        That's in the record, and your

      13    Honor adopted that, and that's true and it's

      14    uncontrovertible , and to start now getting into this

      15    issue about what really happened to these kids flies in

      16    the face of every case that's ever happened .               You can't

      17    get into this .      People after their awards, some of them

      18    go to Lourdes and they make a fantastic recovery, and

      19    what happens then?        The defendant comes in and asks for

      20    a new trial?      The thing is frozen at the time.             To ask

      21    now what happened to these kids since then introduces

      22    into this already amalgam of confusion, another web, and

      23    one that's absolutely prohibited.             So I ask your Honor,

      24    however convenient or inconvenient it is to get these

      25    things, and I don't know, I don't know what the
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       1    situation is in Israel in getting these records, however

       2    convenient or inconvenient, I ask your Honor not to

       3    order production of records which are not relevant to

       4    what we 're talking about.

       5              THE COURT :    Mr. Wistow, is it your position that

       6    it's frozen in time --

       7              MR. WISTOW:     Yes.

       8              THE COURT :    -- does that depend on whether or not

       9    there has been litigation or with the amount of damages?

      10              MR. WISTOW:     I don't understand your Honor's

      11    question.     I apologize .

      12              THE COURT :    Let's say Hamas, who never did

      13    anything in this case --

      14              MR. WISTOW:     Right.

      15              THE COURT :    -- in 2010 files a motion to vacate

      16    the judgment and argues that the amount of the judgment

      17    will not withstand adversarial testing, and they're

      18    making the same argument these defendants are making --

      19              MR. WISTOW:     Yes.

      20              THE COURT :    -- they want to get the school

      21    records of the children, the mental health records of

      22    the children to show that --

      23              MR. WISTOW:     I understand.

      24              THE COURT :    -- the children have not suffered so

      25    much --
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       1             MR. WISTOW:      Now I understand your Honor's

       2    question.

       3             THE COURT :     -- does it make a difference?

       4             MR. WISTOW:      No, it doesn't make a difference for

       5    this reason, for this reason, if the expert testified

       6    these children are having tremendous problems today, he

       7    said that to your Honor, and your Honor adopted that ,

       8    and the fact of the matter is that was a bunch of

       9    baloney , unless it's relevant, I think what needs to be

      10    done is would the award withstand adversarial testing is

      11    based on what is the testimony and what did your Honor

      12    rely on and what did you conclude.             So if he had said,

      13    yes, these children are having terrible psychological --

      14    they can't sleep at night, they're doing terribly at

      15    school, and they will never get out of second grade, if

      16    that 's what he said and your Honor adopted that, then I

      17    could see where this would potentially become very

      18    relevant, but we need to focus on what is it that

      19    happened.     What was the testimony and what did your

      20    Honor decide.      I implore your Honor, and I'm sure you've

      21    done it , to reread your Honor's recommendation and

      22    you'll that it's exactly what I said, that the testimony

      23    was these kids are at an increased risk, period.                 He

      24    didn 't say 40 percent, 90 percent.            You said that, too.

      25    And it's true , and we're prepared to prove that.
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       1              THE COURT :    All right, thank you, Mr. Wistow.

       2              MR. WISTOW:     Thank you.

       3              THE COURT :    We're going to take a ten minute

       4    recess and then we'll take up the remaining two motions.

       5    (RECESS )

       6              THE COURT :    Before we proceed to the second

       7    motion, I just want to ask plaintiffs ' counsel about the

       8    first motion.      The defendants in their memorandum say

       9    basically this is what they're seeking in this motion,

      10    the first motion , the identity of plaintiffs' hearing

      11    witnesses, expert reports or any expert witnesses

      12    plaintiffs may call for hearing , documents plaintiffs

      13    may offer in evidence at hearing, and evidence regarding

      14    plaintiffs ' contention that the amount of damages would

      15    withstand adversarial testing.            So, four things.       The

      16    first thing, identity of plaintiffs' hearing witnesses.

      17    Mr. Wistow , do I understand correctly , plaintiffs say

      18    they have disclosed all witnesses with the possible

      19    exception of one?

      20              MR. WISTOW:     Yes, your Honor.        As matters now

      21    stand, the only witness other than an expert is a fact

      22    witness that we don't know whether or not he's going to

      23    be available we can use him.           That's all we know at the

      24    moment.

      25              THE COURT :    And as to expert reports , or any
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       1    expert witnesses that plaintiffs may call at the

       2    hearing , you say you provided that already?

       3             MR. WISTOW:      Yes, we have.

       4             THE COURT :     And any documents plaintiffs may

       5    offer in evidence at the hearing, you have provided

       6    that .

       7             MR. WISTOW:      No, I'm not saying that.

       8             THE COURT :     You're not saying that.

       9             MR. WISTOW:      I'm not saying that.         We really

      10    don't know .     I can say we will use all of the documents

      11    that have been exhibits in the various motions to date.

      12    If we have to go through the formality of filing an

      13    interrogatory that says that, we'll do that.                But we

      14    really -- I don't know how else to say this, we have

      15    been so deluged with activity in this case that we're

      16    not a hundred percent sure of what the exhibits are

      17    going to be at this point.           I don't know what else to

      18    say.

      19             May I just add one point on that?             I just want to

      20    hand up to your Honor a copy of the docket from June

      21    1st, 2010 to November 30th, I've never seen anything

      22    like it , and, you know, and it gives you an idea of

      23    what 's been going on.

      24             THE COURT :     Mr. Wistow, on the third category ,

      25    documents plaintiffs may offer in evidence, your
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       1    response is, no, you're not representing that you have

       2    provided all the documents but you are representing that

       3    documents that you might offer in evidence at the

       4    hearing have previously been introduced as an exhibit in

       5    some proceeding.

       6             MR. WISTOW:      Yes.

       7             THE COURT :     So we're not going to have a

       8    situation where the defendants are going to say we've

       9    never seen this document before, because any documents

      10    the plaintiffs intend to utilize at the hearing in

      11    January will have been previously provided to the

      12    defendants somewhere along the line?

      13             MR. WISTOW:      By December 17th, certainly.           I'm

      14    not -- I'm embarrassed to be in this situation , your

      15    Honor, but we 've done everything humanly possible to try

      16    to -- to comply.

      17             THE COURT :     Going back to the first --

      18             MR. WISTOW:      Excuse me.      I think there's one

      19    other, one other issue.          Mr. Strachman reminds me that

      20    there are some reports -- I believe we have supplied the

      21    reports of the experts on Israeli law.              I believe we

      22    have .   To the best of my knowledge , your Honor, we have

      23    supplied the reports of every expert that we intend to

      24    use.

      25             THE COURT :     Mr. Wistow, just going back to the
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       1    first two categories.

       2             MR. WISTOW:      Yes.

       3             THE COURT :     The identity of your witnesses and

       4    the expert reports for those witnesses.

       5             MR. WISTOW:      Yes.

       6             THE COURT :     The January hearing, you say you've

       7    given this to defendants already.

       8             MR. WISTOW:      To the best -- I believe we have .

       9    Is there any doubt about that, Mr. Strachman?                To the

      10    best of my knowledge, that's right, your Honor.

      11             THE COURT :     In terms of the Court granting the

      12    motion as to those two categories, is there any

      13    objection from the -- at this point, if I say that as to

      14    those two categories of documents, identity of witnesses

      15    and expert witness reports, plaintiffs represent they

      16    have provided all such names and reports to the

      17    defendants ?

      18             MR. WISTOW:      Expert witnesses.

      19             THE COURT :     Yes.

      20             MR. WISTOW:      That's -- what I don't, what I don't

      21    want to get mixed up on here is we don't believe that

      22    Rule 26 (a) applies.       We're complying pursuant to answers

      23    to interrogatories.        So what we're saying is we've

      24    answered the interrogatories with reference to the

      25    experts .    That's what we're saying.          We don't want to be
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       1    conceding that Rule 26(a) applies to the expert

       2    disclosure .

       3              THE COURT :    But you've also identified all your

       4    witnesses, expert and nonexpert , for the January 17th

       5    hearing ?

       6              MR. WISTOW:      With the -- as I said, your Honor,

       7    there's a possibility of at least one fact witness, at

       8    least one --

       9              THE COURT :    But previously, Mr. Wistow, you said

      10    one witness, now you're saying at least one witness --

      11              MR. WISTOW:      Well --

      12              THE COURT :    How --

      13              MR. WISTOW:      There's only one that I'm cognizant

      14    of now.     There's been such activity in this case, I

      15    don't want to stand here and say that if we have some

      16    kind of lightning bolt that hits us going over all of

      17    this before December 17th that we can't supply it.                  I'm

      18    not trying to be elusive.

      19              THE COURT :    Is there any reason why you could not

      20    definitively identify this possible additional witness

      21    in five days from today's date?

      22              MR. WISTOW:      I don't know.      He's in Israel, and I

      23    don't know .     I, I --

      24              THE COURT :    All right.

      25              MR. WISTOW:      I don't know.
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       1             THE COURT :     All right, fine.       I just wanted to

       2    ask those questions .

       3             MR. WISTOW:      I'm trying to be as candid with the

       4    Court as possible.

       5             THE COURT :     Thank you.     Now with regard to the

       6    documents pertaining to damages that you claimed a

       7    privilege on.      Today is Friday.        I want to decide these

       8    motions as quickly as possible.            I'm not sure I'm going

       9    to look at them but I think I'd like you to submit them

      10    to chambers for a possible in camera examination, so if

      11    I decide I need to do an in camera examination of them,

      12    I'll have them.        I can do it this weekend, and then I

      13    can just rule as opposed to waiting until Monday and

      14    then deciding I need to see them.             Could you see that

      15    copies of those documents that you claim are privileged

      16    as to your -- I'm referring to the damages experts.

      17             MR. WISTOW:      Just the experts, not the

      18    communication with the clients.

      19             MR. HILL:     Your Honor, if it will aid the Court,

      20    I haven 't moved on the communications with the clients.

      21    I've only moved on the ones with the experts, which I

      22    believe are 18 to 25 on the --

      23             THE COURT :     Number 18 to 25?

      24             MR. HILL:     18 to 25.

      25             THE COURT :     18 to 25.     Would you submit those
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       1    documents, 18 to 25, to my chambers today?

       2             MR. WISTOW:      May we do that --

       3             THE COURT :     Mr. Strachman?

       4             MR. STRACHMAN:       I'm pretty sure I can, Judge.

       5             THE COURT :     All right.     I'll be here until 6.

       6             MR. STRACHMAN:       Judge, I have a situation, Jewish

       7    Sabbath , at 3:30.

       8             THE COURT :     Okay.    I understand.

       9             MR. STRACHMAN:       I'm going to do my best when we

      10    get out of here.

      11             THE COURT :     If you're not able to, I understand,

      12    Mr. Strachman .

      13             MR. STRACHMAN:       Thank you.

      14             THE COURT :     If it has to wait until Monday, it

      15    has to wait until Monday, fine.

      16             MR. STRACHMAN:       Okay, thank you.

      17             THE COURT :     Okay, fine.      That takes care of my

      18    questions on that first motion.            We're now going to go

      19    to the second motion.

      20             The second motion is document 583.             This is

      21    plaintiffs ' judgment creditors motion to strike

      22    defendants ' objection to and compel compliance with

      23    certain requests contained in plaintiffs ' judgment

      24    creditors third request for production.               Mr. Wistow.

      25             MR. WISTOW:      Thank you, your Honor.          If your
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       1    Honor has looked at the request for production , you'll

       2    notice that it's virtually identical in terms of topics

       3    to the request for 30(b)(6) depositions where your Honor

       4    made a ruling , and that's in docket number 578.                You 'll

       5    recall there were very extensive request for produc --

       6    excuse me, request for depositions under 30(b)(6), and

       7    your Honor whittled them down very significantly in an

       8    order which is number 578.

       9              We filed the request for production which

      10    mirrored the 30(b)(6) request for depositions long

      11    before your Honor had ruled, as you did, in number 578.

      12    Once -- and by the way, you ruled on that on October

      13    28th , the 30(b)(6), and what you indicated was that you

      14    would allow discovery in certain areas, and just to sum

      15    them up , willfulness of the default that was objected

      16    to, and as a matter of fact the subject of appeal to

      17    Judge Lagueux now that the defendants contend that their

      18    willfulness and the degree of willfulness is not open to

      19    review at this time .        The second was the timeliness of

      20    the motion to vacate, which they also contended was not

      21    open to review.       Your Honor disagreed .        That's also on

      22    appeal.     But in any event, the existing order is for

      23    willfulness, timeliness.          Your Honor indicated that it

      24    was appropriate to ask about the relationship between

      25    the Palestinian Investment Fund and the defendants,
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       1    their knowledge about the collection efforts that the

       2    plaintiffs were making to recover under the judgment of

       3    2004 , the Palestinian Investment Fund actions in

       4    connection with those attempts to collect.                Your Honor

       5    ruled that it was appropriate to ask questions about

       6    meritorious defenses, and also whether or not there was

       7    prejudice to the plaintiffs because of the delay in

       8    discovery, and the delay in the motion to vacate, and

       9    the basis for the defendants ' affirmative contention

      10    that there was no prejudice.           Your Honor under that

      11    heading also said we would be entitled to ask questions

      12    about the roles of certain leadership individuals who

      13    were noticed to deposition in the original case and

      14    whose failure to be produced was part of the reason for

      15    the default judgment.         Your Honor indicated we could ask

      16    about political ramifications of the judgment, the

      17    effect on international relationship, and finally how

      18    the defendants' ability and willingness to participate

      19    in discovery differed today from where it had been on

      20    January 27 , '03, and your Honor expressly referred to

      21    this when a Mr. Al- Kidwas wrote a letter to your Honor .

      22             First I want to say, I don't, for the life of me ,

      23    understand how my brother can say that we did not meet

      24    and confer on these requests for productions.                His own

      25    attachments to his objection shows the enormous amount
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       1    of time , not very productive time, that was spent trying

       2    to work something out, but there was an enormous effort

       3    to try to resolve this.          I don't know where in the world

       4    he can come up and say that there's been no meeting to

       5    confer.

       6              After your Honor ruled in docket number 578

       7    limiting the issues , we've, in turn, attempted to

       8    confine our motion to those matters that fall within

       9    what your Honor said are legitimate areas.

      10    Specifically, and I'm going to do this in chronological

      11    order of the numbers of the request for production, the

      12    first is number 4.0 to 4.Z.           Every one of these

      13    interrogatories relates to willfulness and timeliness.

      14    I said interrogatories , I misspoke .           Request for

      15    production .     They ask for any kind of records from the

      16    Palestinian cabinet, or the Palestinian Liberation

      17    Organization's executive committee , dealing with the

      18    judgment of 2004 , the default judgment, and the 2006

      19    creditors bill judgment.          That's the judgment where

      20    Judge Lagueux assigned all of the PA's ownership

      21    interest in the PIF over to the plaintiffs.                The motion

      22    contains an error in it.          It refers to any documents

      23    relating to the action.          That's not what the request for

      24    production -- the request for production , and all we 're

      25    pressing, is documents that relate to the 2004 default
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       1    judgment and the 2006 judgment on the creditors' right.

       2             The defendants have stated after very lengthy

       3    objections , most of which are boilerplate, that they

       4    claim that neither the PA cabinet nor the PLO executive

       5    committee has any such documents.             And I'll just read

       6    you what their response is to several of these.                 The

       7    defendants hereby incorporate by reference as is fully

       8    set forth herein the foregoing general and specific

       9    objections .     Subject to, and without waiving the

      10    foregoing general and specific objections, and without

      11    prejudice to defendants' right to modify, amend or

      12    supplement their responses as appropriate, defendants

      13    state that there are no documents responsive to this

      14    request .    Now all I would ask there, your Honor, to

      15    those responses, is that to avoid any ambiguity later,

      16    that the objections be stricken , and if they want to

      17    stand and say there are no such documents, well, of

      18    course, we have to accept that, and so I would ask that

      19    for items 4.0 through 4.R.

      20             Now, items 4.S through V are a little bit

      21    different.      They 're related but different.           4.S through

      22    4.V specifically asks for such records of any ministry,

      23    agencies, department or bureau rather than the

      24    Palestinian Authority's cabinet or executive committee

      25    of the PLO.      And interestingly enough, when it comes to
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       1    responding to those requests -- and again, your Honor,

       2    these are the documents relating to the judgment, the

       3    default judgment .       This is related to the default

       4    judgment, and which your Honor has already ruled, and I

       5    believe consistent with what Judge Lagueux has ordered,

       6    that the willfulness is an open issue, and their

       7    response -- I'm not even going to bother reading the

       8    general and specific objections because they're

       9    boilerplate, the same throughout everything here, but

      10    their response is as follows , and it's very telling:

      11    Defendants hereby incorporate by reference as is fully

      12    set forth herein the foregoing general and specific

      13    objections .     This is 4.S, your Honor.          Subject to and

      14    without waiving the foregoing general and specific

      15    objections , and without prejudice to defendants' right

      16    to modify, amend or supplement the responses as

      17    appropriate, defendants state they will produce

      18    documents containing nonappropriate and nonprotected

      19    information within their possession, custody or control,

      20    that are responsive to a reasonable and proper scope and

      21    interpretation of this request, and that can be found

      22    through reasonable search efforts by defendants.

      23             Now, your Honor, if that passes muster as a

      24    satisfactory answer to a request for production, I'm

      25    going to use it myself from now on in every case that I
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       1    have because it says nothing .          It says we're going to

       2    produ -- first of all, we have objections, then, but

       3    notwithstanding those objections, we'll give you the

       4    stuff that 's nonprivileged and nonprotected so long as

       5    it's subject to a reasonable and proper scope of

       6    interpretation.       It's absolute smoke, that answer.             Now

       7    if they want to say there are no such documents, there's

       8    nothing I can do about that.           But it's a world of

       9    difference between the answers saying they have none and

      10    this really elusive answer.           And so I would ask your

      11    Honor that you order production of those documents.

      12    They 're absolutely central to the hearing on willfulness

      13    and timeliness.

      14             By the way, I might point out to your Honor, I

      15    don't know if your Honor is aware of this, that within

      16    the last, and I've lost track of time, I'm going to say

      17    the last couple of weeks, anyway, no more than that, the

      18    defendants have now filed a motion to vacate the 2006

      19    creditors' bill judgment.          So we're not talking just

      20    about the original 2004 judgment, they're trying to

      21    vacate the second creditors' bill judgment.                And one of

      22    the things we 're saying here is that they sat on their

      23    rights, let years go by, let us litigate in all kinds of

      24    other courts trying to collect on this thing, and just

      25    on that timely and -- I just go on.             I should go on to
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       1    the next subject.

       2             We're asking that they be compelled to produce

       3    the items referred to in 6.J.L, and basically those go,

       4    I don't know how anything could go more directly to

       5    meritorious defense than these items, and what they are ,

       6    your Honor , is -- and recall, by the way, that the

       7    murder in question was in June of 1996.               What these are

       8    asking for is , are the records of any communications ,

       9    written agreements, between Hamas and on the one hand

      10    the PA, on the other hand the PLO, and finally Fatah ,

      11    which is the largest political component of the --

      12             THE COURT :     Excuse me, Mr. Wistow, you're talking

      13    about 6.J through 6.L?

      14             MR. WISTOW:      That's right.

      15             THE COURT :     I have your memorandum in front of

      16    me.

      17             MR. WISTOW:      Yes.

      18             THE COURT :     And you just concluded speaking about

      19    requests 4.0 through 4.V.

      20             MR. WISTOW:      Yes.

      21             THE COURT :     And the next group that's addressed

      22    in this request 9.A to B, 9.U to V, 13.H, S, I'm sort of

      23    flipping through your memo trying to find 6.J.

      24             MR. WISTOW:      It's there.      What I've done, your

      25    Honor, is I've put them in a slightly different order
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       1    than they are in the memo.           I put them in the order, the

       2    absolute chronological order, the correct order.                 6.J

       3    through L is -- if your Honor wishes, I can try to find

       4    that .    I represent it's in the memo.

       5              THE COURT :    Well, I see on page 15 there are

       6    three lines.      It says request 6.J to L seeks documents

       7    directly related to defendants' claimed meritorious

       8    defenses.

       9              MR. WISTOW:     Yes, exactly.

      10              THE COURT :    So that's it?

      11              MR. WISTOW:     Yes.

      12              THE COURT :    Okay, continue.

      13              MR. WISTOW:     What I wanted -- I thought it was

      14    better.     I apologize for the way they -- I think it

      15    would have been clearer if we did the memo in the

      16    correct order , the chronological order of the requests

      17    rather than -- that 's what I'm trying to do now.

      18              THE COURT :    All right.

      19              MR. WISTOW:     Because what's happened , your Honor ,

      20    is you can see that the documents are so lengthy that we

      21    thought it better to just attach them as an exhibit, so

      22    I thought when your Honor's looking at these things it

      23    would be easier to look in correct -- I keep saying

      24    chronological order , I guess the correct sequential

      25    order is what I really mean.
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                                                                                      66


       1             THE COURT :     All right.

       2             MR. WISTOW:      In any event, 6.J to L relates to

       3    communications between Hamas and the PA, PLO and Fatah,

       4    in the period September 1st '93 to June 9th '96, and

       5    what that relates to, your Honor, is the early date,

       6    really the creation of the PA under the Oslo Accords and

       7    the last date relates to when the murder took place, and

       8    we're asking -- we're saying there's agreement -- it 's

       9    undisputed in this case.          They're claiming that Hamas

      10    committed the murders and that they had nothing to do

      11    with Hamas at that time and, in fact, Hamas was acting

      12    contrary to their wishes.          Now, again, we have this

      13    bizarre response from them on these issues where they

      14    say again, defendants state they will produce documents

      15    containing nonprivileged and nonprotected information

      16    within their possession, custody or control that are

      17    responsive to a reasonable and proper scope and

      18    interpretation of this request, and that can be found

      19    through reasonable search efforts by defendants.                 So

      20    again, we have that , you know, we'll give you something

      21    if we feel like it answer, and this is very very central

      22    to the meritorious defense issue.

      23             The next in sequential order, your Honor, is 9.A

      24    and B, and what those requests directly relate to are

      25    three issues that your Honor ruled were relevant.                  One
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       1    is the willfulness of the default, next is the

       2    timeliness , and a new issue here, their claim that this

       3    relates to willfulness .         They had claimed in their

       4    pleadings earlier that they had no structure in place to

       5    monitor these lawsuits , will take care of these

       6    lawsuits, and that was part of why everything sort of

       7    went under the radar and they got defaulted , and what

       8    9.A and B asks is who was monitoring the lawsuits that

       9    they -- the terrorists lawsuits that they were involved

      10    in, in Israel and the United States in the period 1993

      11    when the PA was created through 2007.              Now if the

      12    argument needs to be made that this is too broad a

      13    period of time, which I don't think it is, what I would ,

      14    as a minimum, would ask the Court to give us is what

      15    were they doing in the period that this lawsuit was

      16    pending , which is the years 2000 through 2006.                And the

      17    only reason I say 2006 is that's the date of the

      18    creditors' bill default, which they're also asking be

      19    vacated .    So I deposed Prime Minister Fayyad in

      20    Jerusalem, and he testified that indeed they had

      21    policies and guidelines for handling these cases at

      22    least from 1993 on, and that he, Fayyad, was in charge

      23    of the Israeli defense cases, at least from 2003, and

      24    we're asking your Honor that we get the records

      25    regarding those lawsuits, at least for the period 2000
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       1    to 2006 , which is directly relevant to the default

       2    period here, and we're asking flat out that they give us

       3    the policies and procedures which is 9.U through V, the

       4    policies and procedures that Fayyad testified under oath

       5    existed at least from 1993.

       6             10.A through Q are documents relating to the

       7    relationship between the Palestinian Authority and the

       8    Palestinian Investment Fund which was expressly ruled by

       9    your Honor to be an appropriate area.

      10             We're also asking within that group for documents

      11    that reflect the Palestinian Authority's awareness of

      12    the 2006 creditors' bill judgment which now four years

      13    later they 're trying to vacate that, also.

      14             And probably most important , most important in

      15    this category , are records regarding the payments from

      16    the Palestinian Investment Fund to the Palestinian

      17    Authority.      I can't emphasize how central those

      18    documents are to what we're trying to prove in this

      19    case , and let me explain a little bit more because

      20    there's been some subsequent activity your Honor may or

      21    may not be aware of.

      22             We recently attempted to get a preliminary

      23    injunction within the last couple of weeks from Judge

      24    Lagueux regarding payments by an Egyptian company ,

      25    Orascom , to the Palestinian Investment Fund, and without
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       1    getting into just, you know, an overwhelming amount of

       2    collateral material , Judge Lagueux said that he would

       3    not issue the preliminary injunction.              He affirmatively

       4    said that that does not mean he would not issue a

       5    permanent injunction after hearing in January if we

       6    could present evidence that the PIF -- excuse me, that

       7    the PA was siphoning funds from the Palestinian

       8    Investment Fund, which is one of the things we're trying

       9    to prove here .      We're also trying to prove that under

      10    First Circuit case law a party who comes in and asks for

      11    the vacatur of a default judgment must have clean hands ,

      12    and one of the considerations to deny vacatur is if the

      13    party has acted with unclean hands.             One of the things

      14    we want to show is that after Judge Lagueux awarded the

      15    stock ownership of the Palestinian Investment Fund to

      16    the plaintiffs, took it away from the Palestinian

      17    Authority, that notwithstanding that, the Palestinian

      18    Authority paid to the -- excuse me, the Palestinian

      19    Investment Fund paid to the Palestinian Authority all

      20    kinds of money that we contend it shouldn't have, and

      21    this was something that Judge Lagueux expressly referred

      22    to as being something which might persuade him to enter

      23    a permanent injunction .         And, in any event, regardless

      24    of the injunction issue, we think we're entitled to show

      25    that these defendants have completely disregarded Judge
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       1    Lagueux 's order of 2006 turning over the investment fund

       2    to the plaintiffs, and that that alone -- by the way ,

       3    once that argument was made, that precipitated , in my

       4    opinion , the recent motion to vacate the 2006 turnover

       5    order because I think the defendants realized they have

       6    some real peril if we can show that despite the

       7    creditor's bill judgment in our favor, they have

       8    disregarded the fact that we're the owners.                Now that's,

       9    your Honor -- I'm not trying to persuade you that we win

      10    on that .    It's a big issue, but it's an issue we would

      11    like to be able to present Judge Lagueux with evidence

      12    that there have been many many many millions of dollars

      13    turned over from the PIF to the PA after the transfer of

      14    ownership to the plaintiffs, and so we're asking at an

      15    absolute minimum that we get the records of those

      16    payments.

      17             Now in response to that, they've incorporated

      18    their general objections and they said defendants do not

      19    intend to produce any documents in response to this

      20    request , and --

      21             THE COURT :     Which request is that again,

      22    Mr. Wistow ?

      23             MR. WISTOW:      That relates to all of these

      24    requests.

      25             THE COURT :     Give me a number.
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       1             MR. WISTOW:      10.A to Q.

       2             THE COURT :     Okay, thank you.       Mr. Wistow, I need

       3    to tell you that I can probably give you 15 more minutes

       4    total, so you may want to hit high points.                I have read

       5    your memo.

       6             MR. WISTOW:      Okay.    Fair enough.

       7             THE COURT :     And I think I've read it twice, in

       8    fact .   I think I've read all the memos twice, but I just

       9    want to alert you, I'll give you 15 more minutes, hit

      10    the high points that you'd like.

      11             MR. WISTOW:      I will, your Honor.         This is an

      12    painful for me as it is for you, I think.

      13             In any event , 13.H through F, the Israeli

      14    proceedings, one of the big arguments that has been made

      15    before this Court and before the circuit is that the

      16    defendants represent immature quasi-governmental group,

      17    unsophisticated, didn't know how to handle these things ,

      18    the suit here , and that's one of the reasons they got

      19    defaulted.      We would like to show, and we have reason to

      20    believe this is absolutely true, that in the -- there

      21    were many Israeli suits brought against the PA and the

      22    PLO under Israeli law for terrorist activities , and that

      23    the PLO and the PA had no trouble defending those cases ,

      24    participating in discovery, and not getting defaulted,

      25    and one of the things we want to show ultimately is the
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       1    reason that they defaulted in this case is because they

       2    felt there was never going to be an opportunity for the

       3    plaintiffs to ever collect anything, regardless of what

       4    the result was.       They knew that an Israeli judgment,

       5    because of the occupation of the west bank and Gaza,

       6    would be collectible against them.             So we want to show

       7    that they adequately defended those cases.

       8             There's a very specific document we would like,

       9    and I think this shows you the approach of the

      10    defendants generally to this, it's 13.BB, and it's a

      11    specific affidavit of a Muhannad Jaouni dated 2/22/05.

      12    It was introduced in an Israeli case.              And that relates

      13    -- I'll read you what it says.            An authentic copy of the

      14    affidavit of Muhannad Jaouni dated February 22, 2005

      15    submitted by the PA in the Jerusalem District Court in

      16    Civil Case so and so, and it identifies it, and they 've

      17    taken the position that they're not allowed , among other

      18    things, they're not allowed to produce this document .

      19    It's inconsistent with Israeli law and procedure.                  We

      20    supplied an affidavit from a professor, Israeli law

      21    schools , indicating that the law in Israel is virtually

      22    identical to the law here in the United States, that if

      23    the PA or the PLO goes to its lawyer, goes to its lawyer

      24    and says give me a copy of my file, the lawyer must do

      25    it, and this is the affidavit of Professor Lipschits .
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       1    The lawyer must provide the documents .             In fact, it's a

       2    violation of the disciplinary rules in Israel.                 It's an

       3    exact perfect corollary of what we have here.                So we 're

       4    asking for that affidavit .

       5             Similarly , another specific is the Fayyad

       6    resignation, which is referred to in 14.A, and they

       7    refuse to give us that, and we think that the Fayyad --

       8    Fayyad is the present prime minister of the Palestinian

       9    Authority.      He was the finance minister during much of

      10    the period we 're talking about, and we think that

      11    resignation letter is going to be vital in terms of

      12    showing participation between the PA and the PLO, and we

      13    don't understand why we can't get it.

      14             I skipped over some other things.             This is --

      15    your Honor has read it, and I leave it to your Honor to

      16    decide the relevance and the importance of these

      17    matters .    I understand , your Honor, that there's a fair

      18    amount of work to get this stuff together on the part of

      19    the defendants.       I don't suggest that this is an

      20    overwhelmingly simple task, although it is for some of

      21    the items like the affidavit and the letter of

      22    resignation, and also the records of payments that the

      23    PIF made to the PA.        That should be simple.          The others ,

      24    I agree , requires some effort, but let's look at the

      25    context of this.       These defendants are in this court
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       1    saying please relieve us from $116 million judgment, and

       2    let us go forward and do a trial.             And we say before you

       3    do that , let's go through these steps.             Let's take the

       4    effort and produce the documents.             Agree there's an

       5    effort involved.       And I think it's warranted.

       6             THE COURT :     Thank you, Mr. Wistow.

       7             MR. WISTOW:      Thank you, your Honor.

       8             THE COURT :     Mr. Hill.

       9             MR. HILL:     Thank you, your Honor.          Let me start

      10    with a big picture point which is this, the arguments

      11    that have just been made to your Honor about why these

      12    materials need to be produced were never made to me in a

      13    meet and confer with the plaintiffs lawyers .               We

      14    attempted to confer with them about these requests

      15    before the date of our response , and Mr. Wistow told us

      16    he didn 't want to talk to us.          He would only deal with

      17    us in a letter, so we wrote him a letter, and in

      18    response to that letter, they removed six of the 205

      19    requests and tweaked the rest.            We served our responses

      20    on September 27th.        Subsequently, Mr. Strachman

      21    reflected that we have a meet and confer about our

      22    responses, and Mr. Wistow did not participate in that

      23    conversation, but I spoke with Mr. Strachman.                During

      24    that conversation, none of the issues that were raised

      25    in this motion were discussed with me.              There has never
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       1    been a meet and confer between the parties about the

       2    substance of the motion that is before you today, and I

       3    think more importantly , that conversation with

       4    Mr. Strachman took place before we had the arguments in

       5    late October, and before your Honor issued the order on

       6    the Rule 30(b)(6) deposition .          And after your Honor

       7    issued that order, which as they acknowledge, it

       8    substantially narrowed the topics that the Court thought

       9    were appropriate for discovery, we never had a

      10    conversation about what if anything we would do in

      11    response to that order as it relates to these requests.

      12    Now I think the fact that we never had that conversation

      13    is reflected in what is frankly a waste of the Court 's

      14    time on some of the issues that have just been argued to

      15    you.    And I'll just pick a couple of low hanging fruit.

      16    One is request 14.A.         Your Honor, if I may, I did what

      17    the plaintiffs didn 't do, which is what is required by

      18    the local rule, I actually exerted the requests and the

      19    objections , and I have them here.            I'd like to hand them

      20    up to the Court because I think your Honor needs to look

      21    at these requests.        May I do that?

      22             THE COURT :     You may.

      23             MR. HILL:     I have copies for counsel , as well , if

      24    you'd like them.

      25             Request Number 14.A on the exhibits that I just
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       1    handed your Honor, on page 72, and that says they

       2    request an authentic copy of the letter of resignation

       3    referred to by Salam Fayyad on pages 289 to 292 of the

       4    transcript of his July 28, 2010 deposition.                This is

       5    actually a reasonable request.            It's very specific.        And

       6    if you look at our response, we say defendants state

       7    they will produce a document responsive to a reasonable

       8    and proper scope and interpretation of this request.

       9    And what's really extraordinary is that we did.                 And it

      10    was in the production that we made on September 27th .

      11    Mr. Strachman subsequently asked me to provide an index

      12    of my production , and I gave it to him, and in that

      13    index -- I'm trying to put my hands on right now.                  This

      14    is in the record as Exhibit 17 to our opposition brief,

      15    which is document number 610.           On page 2 of that

      16    document, I don't know if your Honor is trying to find

      17    it.   I'll wait.      On page 2, in the left-hand column, we

      18    list 3 RPD 14 (a) and we list the bates range, page 12158

      19    to 12159.     That is the two page resignation letter of

      20    Prime Minister Fayyad, and so it's extraordinary to me

      21    that even in oral argument Mr. Wistow is suggesting to

      22    the Court that we didn't produce it and asking that I be

      23    ordered to produce it when the fact of the matter is I

      24    did produce it on September 27th, and, you know, it's

      25    just extraordinary to me that Rule 37 requires the
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       1    parties to get together and have a conversation to try

       2    and narrow discovery disputes before the Court is asked

       3    to rule on them, and everything I've said about this for

       4    the last few minutes has been a complete waste of

       5    everyone's time, and that's just one example.                Let me

       6    give you another one.

       7             The plaintiffs have moved to compel on both their

       8    requests 9.A and 9.B and their requests 13.V and 13.W,

       9    and if you look at request 9.A, which is on page 18 of

      10    the exhibit I just handed your Honor, and to keep your

      11    thumb there, and then find 13.V, which is on page 48 of

      12    that same document --

      13             THE COURT :     Are you saying V as in Victor?

      14             MR. HILL:     V as in Victor.        13 Victor on page 48 ,

      15    and you compare 13.V with 9.A, you'll see they're

      16    exactly the same thing.          So they've moved to compel on

      17    two identical requests .         And again, if they had just

      18    bothered to have a phone conversation , we wouldn't have

      19    wasted time briefing this issue.            There's no point in

      20    moving on two identical requests.             And let me give the

      21    Court one more example.

      22             If the Court will look at request number 14.F.i,

      23    I'm sorry, 14 .F(iii), so it's 14.F.iii, this is on page

      24    97 of the document I just handed up, this asks for all

      25    documents related to, referring to, and/or evidencing
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       1    any and all positions, titles and/or jobs held by Amin

       2    Al Hindi in the PA or the PLO on the date that you

       3    produced documents in response to this request .                So this

       4    would have required us to provide documents related to

       5    Mr. Al Hindi's jobs , essentially, as of September 27 ,

       6    2010 .     Well, Mr. Al Hindi died on August 17, 2010.              So

       7    this is a request to provide the current job of someone

       8    who's deceased.       This is something they need to compel

       9    on.      And again, if they'd just complied with the rule

      10    and had a substantive conversation with us about the

      11    arguments they're now making about the requests they 're

      12    now seeking to have us ordered to produce documents in

      13    response to, we wouldn't have wasted everyone's time

      14    litigating 14 .F.iii.

      15               Now, more examples , and I'll reference them as I

      16    talk about these individual requests, but I wanted to

      17    say at the outset this is not the way you're suppose to

      18    do this .     We're not suppose to waste your Honor's time

      19    and the parties' time briefing a motion on things that

      20    can get resolved in a phone call between counsel.                  And

      21    the case law is very clear, that that is the basis alone

      22    to deny the motion, and I would request that the Court

      23    do that .     Now unless the Court's prepared to do that

      24    right now, I, of course, need to go on and address the

      25    merits, and I'll do that.
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       1             THE COURT :     Please do.

       2             MR. HILL:     And the second point I want to make is

       3    there is also a failure to comply with the local rule,

       4    which is local rule 37(a), and I know the Court is

       5    familiar with it, but I think it bears reading it into

       6    the record , which is, a motion to compel a response, or

       7    further response to an interrogatory request for

       8    production or request for admission shall state the

       9    interrogatory or request, the response made, if any, and

      10    the reasons for why the movant maintains the response is

      11    inadequate .     That's not been done here.           And, frankly,

      12    it makes it very difficult to respond to the arguments

      13    that are made , and I know it makes it difficult for the

      14    Court.    I have just handed you the hundred pages of

      15    requests that are at issue and the responses that are at

      16    issue.    That is how much thicker the opening briefs

      17    should have been had the local rule been complied with.

      18    And I'm going to take your Honor through , if not all of

      19    these, a vast majority of them in the course of this

      20    argument because I feel I have to have you look at the

      21    language that you're being asked to order my clients to

      22    comply with, and the plaintiffs want your Honor to do

      23    this at 20 ,000 feet and just say, oh, well, there's some

      24    categories here, there's some categories there, but the

      25    fact of the matter is the language of the requests
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       1    matter, and that is the language that we've made

       2    objections to , and so the notion that the plaintiffs can

       3    just say, oh, well, generally this topic area is

       4    relevant therefore you should compel the following 22

       5    specific requests, that just can't work that way.                  We've

       6    got to work through the details and determine whether

       7    these are proper in scope, whether they call for

       8    privileged information , if they do, whether I should be

       9    required to produce a privilege log.              Let me make this

      10    big point, a lot of these are for all documents relating

      11    to a general category of material, including in some

      12    instances all documents related to blah, blah, blah,

      13    this action.      Well, Judge, that literally requires me to

      14    log everything in my office about this case, and that is

      15    not reasonable.       There's no reason for that.           And if I

      16    sent them a document request that said produce all

      17    documents related to this case, they would object and

      18    say it's ridiculous , it includes a ton of

      19    attorney/client and attorney work product, and I've made

      20    those objections .       But the arguments the plaintiffs are

      21    making is, oh , no, you should just order them to produce

      22    all that stuff.       And so we're going to need to go

      23    through these in some detail, and if your Honor is going

      24    to order anything, your Honor is put in the unfortunate

      25    position of having to basically blue pencil these
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       1    requests.     And I was struck by one of the things

       2    Mr. Wistow said in his argument which was there's a

       3    mistake in the motion.         I think it's with respect to

       4    request 4.0, and he says there's an error, we're not

       5    asking for all documents related to the action.                 But

       6    when you look at 4.0, which is on page 5 of the exhibit

       7    I handed to your Honor, it asks for authentic copies of

       8    all PA cabinet minutes, protocol and/or records from

       9    anytime referencing and/or relating to the judgment, any

      10    proceedings brought to enforce the judgment , the 2006

      11    judgment, and/or the instant action.              And, again, if we

      12    had a meet and confer, and he said, you know what, I'm

      13    not asking for everything about the case, I'm just

      14    asking about the judgments, well, that would have

      15    substantially narrowed this request.              Now in this one,

      16    it turns out to be a no set because there aren't

      17    anything even to the broader ones, but as you'll see as

      18    we go through these , this is a consistent problem

      19    throughout these document requests .            They are requesting

      20    in here that literally , if read, require every document

      21    that has Salam Fayyad's name on it.             There are documents

      22    in here that literally , if read, require me to log every

      23    document in my office related to this and, frankly, it's

      24    not fair to the Court to require you to now take a blue

      25    pen to these and make them reasonable .             You should
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       1    require the parties to have done that before we get here

       2    several weeks after the close of discovery on a motion

       3    to compel 90, really discount the duplicates, 88

       4    document requests.        So I think independently the failure

       5    to comply with the local rule and produce for your Honor

       6    in a way that 's easy for your Honor to utilize the

       7    actual requests and the actual responses is another

       8    basis on which to deny this without even reaching the

       9    individual merits.        But I understand the Court wants me

      10    to proceed with the argument , and I'll proceed to the

      11    individual merits at this point.

      12             THE COURT :     Just so you won't be surprised ,

      13    Mr. Hill, I'm going to let you begin, because I let

      14    Mr. Wistow begin and go on awhile with each individual

      15    request , but I'm going to limit you to about the same

      16    amount of time Mr. Wistow had.            I doubt that you'll get

      17    through all of these, so I'm going to let you go, but

      18    you're not going to get through all of them, I don't

      19    think, unless you speak extremely fast.

      20             MR. HILL:     Well, your Honor, I will obviously do

      21    as the Court complies.         I'd ask that the Court note my

      22    objection to that because I'm being -- your Honor is

      23    being asked to incorporate these particular

      24    constructions into an order, and I think before your

      25    Honor can do that I should have the chance to argue them
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       1    all, and I will obviously try and meet the Court's

       2    timing requirement.        I appreciate this could take a long

       3    time .

       4             THE COURT :     Well, it sounds to me, Mr. Hill,

       5    you're suggesting I'm not being fair to you when I -- I

       6    don't share that view.         The Court's trying to be quite

       7    fair .   I'm going to let you go, but I generally balance

       8    the amount of time allocated to each side on a matter,

       9    try to be approximately equal, and I've allowed you to

      10    submit documents to support your argument, including the

      11    one that you've handed up this morning just now, and you

      12    have your written argument, so I really don't think by

      13    limiting you to approximately the same amount of time

      14    that I allowed Mr. Wistow, I think that you're in any

      15    way being deprived of a fair opportunity to be heard .

      16             MR. HILL:     I appreciate that, your Honor.            I just

      17    wanted to note the objection for the record.                I will

      18    follow the Court 's direction .

      19             THE COURT :     Specifically , what are you objecting

      20    to?

      21             MR. HILL:     Well, the problem, your Honor, is

      22    there are 88 requests here, and you're being asked to

      23    order us to respond to all 88 of them, and I'm just not

      24    sure that in 15 minutes I can adequately address 88

      25    requests.     I haven't done the math but that's, you know ,
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       1    20 seconds per request, or something like that, and some

       2    of them are able to be grouped and connected in that

       3    way, and I will do my best to address them all.                 I don't

       4    want my client to be prejudiced because the plaintiffs

       5    have chosen to move on 88 requests .            So let me proceed

       6    with --

       7              THE COURT :    I haven't limited you to 15 more

       8    minutes , Mr. Hill.

       9              MR. HILL:     I understand.

      10              THE COURT :    I've indicated I'm going to allocate

      11    to you the same amount of time, approximately, as

      12    Mr. Wistow had, and that's all I've indicated to you .                    I

      13    haven't cut your argument off.            What I've done is to

      14    give you the courtesy of letting you know that you're

      15    probably in that amount of time not going to be able to

      16    get through all of these, and to allow you to know that

      17    in advance so that if there are some that you think are

      18    more important that you might want to address those

      19    first.     But other than the fact that I'm saying you're

      20    not going to get significantly more time than

      21    Mr. Wistow had, I'm not limiting your ability to argue

      22    this motion, given the fact that I've accepted your

      23    documents and I've read your memorandum.               So with that,

      24    please continue.

      25              MR. HILL:     Yes, your Honor.       To address request
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       1    number 4.0 to V, which I believe begin on page 5, I

       2    think these are actually relatively easily disposed of

       3    because we 've looked for these materials and there are

       4    none , and so I don't see any reason why we should be

       5    compelled to produce documents in response to 4.0

       6    through V because we haven't found any.               Now let me make

       7    a distinction between 4.0 to R and 4.F to V, and if I

       8    could call the Court's attention to 4.S.               The problem

       9    here is the breadth of the request .            This requires all

      10    minutes , protocols and/or records generated by any PA,

      11    ministry, agency , department , division, bureau and/or

      12    other government body from anytime referencing and/or

      13    relating to the judgment, any proceedings brought to

      14    enforce the judgment, the 2006 judgment, and/or the

      15    instant action.       So this is a very broad request.             This

      16    requires us to search everywhere in the PA for any

      17    record generated by anywhere in the PA from anytime

      18    relating to the case, and so let me first note it's

      19    tremendous overbroad.

      20             Secondarily, let me note that it calls for

      21    privileged information .         I mean, any records from the PA

      22    that are communicated to my firm would be

      23    attorney/client privilege .          It would be unduly

      24    burdensome for me to log all attorney /client

      25    communications related to the case, but that is facially
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       1    what 4.S requires.        We have, as we said in our response ,

       2    which is on the next page, page 10, we have looked for

       3    and said we would produce documents containing

       4    nonprivileged and nonprotected information.                So again,

       5    I'm not going to produce my attorney/client

       6    communications, I don't have to, I shouldn't have to ,

       7    within our possession, custody or control, that are

       8    responsive to a reasonable and proper scope and

       9    interpretation of the request, and that can be found

      10    through reasonable search efforts.             And we have done

      11    that .   We have conducted a reasonable search of the PA

      12    to try and find documents that are not privileged , that

      13    are about this case , and to this point in time we have

      14    not located any.       And so I would respectfully ask that

      15    we not be compelled to produce documents that we can 't

      16    find , or to log them all as privileged, which would be a

      17    waste of everyone's time.

      18             4.T is similar.       It's just with respect to the

      19    PLO as well as instead of the AP.             4.U is similar , and

      20    this is on page 11 of the exhibit I handed to the Court .

      21    It's a little different.          Instead of looking for

      22    minutes , protocols and records, now we're being asked to

      23    look for decisions, orders and directives.                But again,

      24    it's decisions, orders and directives from anyone in the

      25    PA relating to the case.          And again, we've looked for
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       1    nonprivileged material and we're not locating any.                  If

       2    we find it , we will produce it, but we respectfully

       3    ought not be required to log anything our client has

       4    written related to the case that's been an

       5    attorney/client communication or that's been work

       6    product anymore than the plaintiffs should be required

       7    to log all of their attorney /client communications or

       8    work product.

       9             Let me move, sticking with Mr. Wistow's format of

      10    moving through these in numerical order, let me move to

      11    6.J through L.       6.J is located on page 13, and J, K and

      12    L of request 6 are the same except for the alleged

      13    contracting parties, so J is the PA, K is the PLO and L

      14    is Fatah.     And looking to J, all documents relating to,

      15    referring to, and/or evidencing any communications and

      16    written agreements, accords and/or pacts to which Hamas

      17    and the PA were parties at anytime between September 1st

      18    '93 and June 9th, '96.         Let me make a point about

      19    relevance, first of all.

      20             Mr. Wistow suggested this was unquestionably

      21    relevant to our meritorious defense.              We have said this

      22    in other discovery responses .          Let me make it absolutely

      23    clear, the PA and the PLO are not relying on any written

      24    agreements , accords and/or pacts with Hamas to assert a

      25    meritorious defense.         The plaintiffs are relying on
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       1    these alleged pacts to assert our liability , okay?                 So

       2    if the Court is going to limit discovery to our

       3    meritorious defenses, these documents are not part of my

       4    meritorious defense.

       5             Let me make another point, and that's this, this

       6    request as written requires communications and written

       7    agreements , accords, and/or pacts, to which Hamas and

       8    the PA were parties.         We have conducted a search for

       9    written agreements between the PA and Hamas, and we

      10    can't find any.       We don't think there are any.            There

      11    were written agreements between the PLO and Israel,

      12    there's the Oslo Accord, but there aren't any treaties

      13    between the PA and Hamas.          Similarly, there aren't any

      14    between the PLO and Hamas, and there aren't any between

      15    Fatah and Hamas.       So in the absence of any written

      16    agreements , accords or pacts, if that's the

      17    construction, and I suggest that that is the proper

      18    construction since it's communications and written

      19    agreements , and is different than or, so we're looking

      20    for documents that is both a communication and a written

      21    agreement.      Since there are no written agreements

      22    between these three entities and Hamas, there is nothing

      23    that 's responsive to these three requests.               So that's

      24    what this literally requires us to produce, and since we

      25    haven't found any written agreements, there's nothing
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       1    that 's responsive to this.          Hypothetically, if there is

       2    a written agreement , there's a problem because it

       3    doesn't just ask for the written agreement, it asks for

       4    all documents relating to it.

       5              Now, your Honor will appreciate that when we got

       6    this document request, we started looking for these

       7    documents, and there is a fair amount of attorney /client

       8    communication and attorney work product that relates to

       9    trying to find these documents.            Again, I shouldn 't have

      10    to log my efforts to comply with the document request

      11    because they're responsive to the document request

      12    because it 's so overbroad .         It's all documents relating

      13    to a written agreement .         Well, I went and looked for

      14    one.     I didn't find one.       I shouldn't have to log all

      15    the attorney/client communications and attorney work

      16    product that went into the effort of finding out that we

      17    don't have one.         So I'd respectfully request that the

      18    motion be denied with respect to the sixes.

      19              THE COURT :     All right, Mr. Hill, have you

      20    finished on the sixes?

      21              MR. HILL:     I'm done with the sixes, yes, your

      22    Honor.

      23              THE COURT :     All right, it's 12:31, we're going to

      24    break for lunch at this point.            We'll resume at

      25    2 o'clock.      The Court will stand in recess.
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       1    (RECESS )

       2             THE COURT :     All right, Mr. Hill, you may resume

       3    when you're ready.

       4             MR. HILL:     Thank you, your Honor.          Good

       5    afternoon.      I have endeavored to try and streamline this

       6    as much as possible .        There are four areas I need to

       7    cover which for lack of a better title we could call the

       8    nines, the tens, the thirteens and the fourteens, though

       9    there's several of some of them.            Let me start with the

      10    nines and start with 9.A and B, which if your Honor

      11    still has the truncated versions, on page 18 is 9.A, and

      12    9.A and B are the same except one is directed to the PA

      13    and the PLO.

      14             So, a couple of points we make here.              First of

      15    all, just the time frame, the request is between '93 and

      16    December 2007 .      I understood Mr. Wistow to say they

      17    would like to narrow that to 2000 to 2006.                We wouldn't

      18    have any objection to narrowing it, however , what I

      19    think is, when you read the request, there's also not

      20    going to be anything responsive to this, and I'll

      21    explain why.      It says all documents relating to,

      22    referring to, and/or evidencing , and then there's a list

      23    of things that these documents have to relate to, refer

      24    to, or evidence.       One, the organizational, and two,

      25    institutional structures, and three, individuals within
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       1    the PA responsible for, and again there's another list,

       2    1, monitoring , and 2, making decisions regarding

       3    lawsuits filed against PA in, and they got another two

       4    things, in , 1, the United States, and 2, in Israel.                  So

       5    this is a document that's got to have all of these

       6    things in it, and I don't believe there is such a

       7    document, and let me explain why.             Let me do that in the

       8    context of the next set, which is 9.U and 9.V.

       9             9.U, again these are the same except for the 9.U

      10    is the PA and 9.V is the PLO, and 9.U, which is on page

      11    20 of the document that I believe your Honor is looking

      12    at, requests for all documents from anytime prior to

      13    December 2007 , again, I'm assuming this has now been

      14    narrowed to 2000 , relating to, referring to, evidencing ,

      15    containing and/or constituting policies, procedures

      16    and/or guidelines for the handling of lawsuits brought

      17    against the PA.       Now this one is broader because it's

      18    not limited to lawsuits in the United States or Israel.

      19    But I don't think there is a relevant document

      20    constituting policies, procedures, and/or guidelines for

      21    handling lawsuits brought against the PA.

      22             Let me talk about the prime minister 's testimony

      23    because that's what Mr. Wistow referenced.                The prime

      24    minister was examined at some length about whether there

      25    were policies and procedures of the PA that would be
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       1    involved here , and the examination starts on page 230 of

       2    his deposition and runs to page 256.              I'm not going to

       3    read it all.      But let me make this point, and it's this ,

       4    and this is -- by the way, it's in the record.                 It's

       5    Exhibit D to the motion to compel that we're discussing

       6    now which is document 484-9, and I'd like to start on

       7    page 238.     238, line 5, there's a question:             Mr. Fayyad ,

       8    the minister of justice follows up on what?                Frankly , I

       9    don't understand .       In the Ungar case, what is his

      10    involvement?      Answer: You know, generally speaking, in

      11    all litigation against the PA, or in which the PA is a

      12    party, to which the PA is a party, the minister of

      13    justice is involved in that sense.             Domestic or

      14    international , now in the case of Ungar and the other

      15    litigation cases against us in the United States, the

      16    minister of justice is not involved in decision-making.

      17    Okay .

      18             If you would , your Honor, I would like to draw

      19    your attention to page 241, starting at line 14.                 The

      20    question is: I get the impression that one of the

      21    functions of the ministry of justice for these kinds of

      22    cases is that --

      23             THE COURT :     Excuse me, Mr. Hill, for some reason

      24    my page numbers don't seem to correlate with yours.                    I'm

      25    looking at the page number at the bottom, 241, I also
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       1    see at various points different page numbers, so it must

       2    be other page numbers that you're referring to.

       3              MR. HILL:     Exactly , your Honor.       I apologize

       4    about that .     It's the nature of the exhibit .

       5              THE COURT :    You're at 241?

       6              MR. HILL:     I'm at 241, line 14 of the smaller

       7    pages, if you will.

       8              THE COURT :    Yes, okay.

       9              MR. HILL:     Okay.    So question by Mr. Wistow: I

      10    get the impression that one of the functions of the

      11    ministry of justice to these kinds of cases is that,

      12    say, request for production of documents or request for

      13    answers to interrogatory, are initially worked on by the

      14    minister of justice department, certainly not by you ,

      15    right?     Answer: In general.        In general, this is the

      16    case , however, in this particular case, as in the other

      17    cases being litigated in the United States, you know ,

      18    the process goes through my office.             Whether it's a

      19    document that 's required, an individual being deposed,

      20    or any other thing that is of interest to the attorneys,

      21    the Court, generally, the request comes to my office and

      22    then it goes to, you know, the head of the department

      23    concerned, and if it's individual, you know, they

      24    appear.     If it's a document, they produce it if it's

      25    available.      Next question , 242, line 8: So the minister
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       1    of justice has not been involved in these cases?

       2    Answer:     In these cases did not have that involvement

       3    which the ministry of justice generally has in cases of

       4    litigation .     So, let me just make a comment here.               So

       5    the prime minister is saying in the U.S. litigation it's

       6    the prime minister's office that makes the decision, not

       7    the ministry of justice.          The ministry of justice is not

       8    involved.      Then if you jump ahead, there's a line of

       9    questioning about litigation more generally .               Okay.        So

      10    if your Honor would look at page 248, starting at line

      11    5, there's some discussion about a hypothetical lawsuit

      12    filed against the PA.         It says, okay, so there's no set

      13    policy.     It's up to you to decide who would get it, is

      14    that fair?      Answer: Now I can tell you there is a policy

      15    in the sense of there are ministries with clear mandates

      16    and agencies as to what they're suppose to be doing.

      17    What is not really established, what is not there, is

      18    established pattern, practice, tradition , but not policy

      19    or mandate.      Next question, 248, line 19: Is there any

      20    written policy, procedure , protocol, or whatever you

      21    want to call it, that tells the people who work for the

      22    PA where to send any kind of lawsuit, any kind?                 Answer :

      23    You know, there is.        Of course there is.         For example,

      24    there are cases, you know, filed against us in local

      25    courts, meaning courts in the west bank or Gaza, on a
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       1    variety of matters.        What happens is that the attorney

       2    general , prosecutor general, acting on behalf of the PA ,

       3    informs us , informs the relevant agency of the executive

       4    branch and of the existence of an action against it,

       5    then he would ask in that communication as to what

       6    response that agency may have to that particular

       7    complaint that's been filed against the PA of any

       8    proceeding that's been filed, et cetera, et cetera.                  So

       9    there is a written policy?           Answer: Yes.      Insofar as

      10    that case is concerned , there is.            So it's clear when

      11    you read the testimony , and of course the Court is free

      12    to read this entire exchange , that when the prime

      13    minister is talking about a policy, he's talking about a

      14    policy that exists for local actions filed against the

      15    PA and Palestine .       And so therefore when we return to

      16    the request at issue here, 9.A and 9.B are about actions

      17    in the United States or Israel.            Obviously, this policy

      18    would not be responsive to those requests.                So that

      19    leads us to 9.U and 9.V which generally asks for any

      20    lawsuits against the PA, but I would submit that the

      21    policy about what the PA does when it's sued in the west

      22    bank is not going to be relevant here, and I think the

      23    plaintiffs agree .       If you look at the last -- 13, I

      24    believe it is , yeah , so on page 71, 13.VV as in Victor,

      25    page 71 of the document request , the exhibit that I
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       1    handed up earlier today, page 71, your Honor, it asks

       2    for all documents relating to, referring to, or

       3    evidencing any legal or arbitration proceedings other

       4    than those explicitly referred to in this request for

       5    production brought by or against the PA and PLO at

       6    anyplace outside the west bank and Gaza Strip at anytime

       7    prior to December of 2007, and so the plaintiffs own

       8    requests don't appear to be asking for Gaza and west

       9    bank litigation, I can't imagine that it would be

      10    relevant.      So with that understanding, I don't believe

      11    there are responsive documents to 9.A, 9.B, 9.U or 9.V,

      12    if they 're construed literally.           Now if they're

      13    construed in an overbroad fashion, your Honor could see

      14    that there could be many many documents about, as

      15    Mr. Wistow put it in his argument, who's monitoring the

      16    litigation .     I mean , since 2007, my firm has been

      17    monitoring the litigation .          So if it means to encompass

      18    all the litigation documents , then we're back into the

      19    same posture of not needing to log all the litigation

      20    documents.      So I think either way, when you read it

      21    literally, there are no responsive documents, and I

      22    would ask the Court not to construe it in an overbroad

      23    way that would make us log things.

      24             I think I'm going to talk about the tens.               The

      25    tens pertain to the Palestine Investment Fund.                 And I
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       1    note , as your Honor is aware, that we have appealed your

       2    ruling on the relevance of PIF communications.                 I won't

       3    reargue that issue here.          So with that ruling and

       4    background , let's talk about whether these particular

       5    requests are things that we should be compelled to

       6    produce documents in response to.             10.A, which is on

       7    page 23 of the handup, asks for all documents relating

       8    to, referring to, and/or evidencing the relationship

       9    between the Palestinian Investment Fund and the PA.

      10    This conceivably is any document the PA has that talks

      11    about the Palestine Investment Fund.              Conceivably any

      12    document would relate to the relationship, and if you

      13    look at the definition that the plaintiffs have put on

      14    relating to, it is, as the language is by itself,

      15    extremely broad.       This is on page 31 of the document

      16    request .    Relate to, or relating to, shall mean and

      17    include constituting, discussing, mentioning,

      18    containing , embodying, reflecting, identifying ,

      19    incorporating , referring to, dealing with or pertaining

      20    to in any way.       So I think literally the overbreadth of

      21    this is everything that says PIF on it, and clearly that

      22    wouldn't be a reasonable request.             I would note that

      23    they already have the PIF articles of incorporation.

      24    They already have PIF's annual reports, which discuss

      25    this very issue.       So I don't believe the plaintiffs have
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       1    met their need to showing that the need for additional

       2    information about the relationship between the PA and

       3    the PIF would outweigh the burden of this particular

       4    request , and I don't know that the Court needs to try

       5    and fashion a narrower request that would be reasonable .

       6    I just ask you to deny the motion to compel on this one .

       7             10.B, which is on page 24, again, this one asks

       8    for all documents relating to, referring to, and/or

       9    evidencing the PA's knowledge of, and when the PA first

      10    became aware of the 2006 judgment.             This is the

      11    September 19, 2006 creditors ' bill judgment .              Again, on

      12    the one hand it seems very narrow because, as I think

      13    Mr. Wistow noted at the November 17th hearing before

      14    Judge Lagueux, Mr. Sherman was in the courtroom when

      15    Judge Lagueux announced this from the bench, and so in

      16    that sense the PA first became aware of it because

      17    counsel heard about it in court.            So if all we're asking

      18    for is all documents relating to when the PA first

      19    became aware, they've got the transcript .              They've got

      20    it already.      If they're asking for something else, and

      21    it's not clear what they are asking for, you know, it

      22    sounds like it's going to, at the very least, involve

      23    attorney/client communications between Mr. Deming and

      24    the clients.      So I don't think there's a basis to compel

      25    us to log all communications with the clients from
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       1    September 2006 about the creditors ' bill judgment .                And ,

       2    for what it's worth , we're not contending that the PA

       3    didn 't know about it contemporaneously.              No argument

       4    that we weren 't aware of it.          We obviously were aware of

       5    it by operation of law when our counsel heard about it

       6    from the lips of the Court.

       7             10.C is all documents relating to, referring to,

       8    and/or evidencing the transfer, and/or payment of any

       9    funds, monies or assets, from the PIF to the PA from the

      10    date the 2006 judgment was entered until present day .

      11    Let me stop there.        Actually , the second one is

      12    including all documents relating to, referring to,

      13    and/or evidencing in the amounts of such transfer .                 So

      14    this is every document that the PA or the PLO has about

      15    any transfer from the PIF to the PA from 2006 to the

      16    present .    I would submit the objection to overbreadth

      17    ought to be sustained here.           There's no effort to try

      18    and narrow out what they already know about in the

      19    motion, in the opposition they filed to our motion for

      20    protective order on PA, PIF communications.                They

      21    included in the record several documents that are

      22    publicly available that show such transfers .               There's

      23    been no showing that we need to go, turn over every

      24    stone in the PA and produce every document showing every

      25    transfer for this time period.            They have that evidence
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        1   already .

        2            THE COURT :     They have a record of every transfer

        3   between the PIF and the PA?

        4            MR. HILL:      I don't know that I can represent that

        5   they have the record of every transfer, your Honor.                  I

        6   hesitate to make that representation.

        7            THE COURT :     So all you can say is they have some ?

        8            MR. HILL:      Well, and I guess the point I would

        9   make is , isn't some enough?          I mean, if the issue is

       10   that the transfers themselves are somehow evidence of

       11   unclean hands , or bad faith, or however you want to

       12   characterize it, I mean, I obviously disagree with those

       13   characterizations, but they have evidence of millions of

       14   dollars of transfers already .           So if there is, you know ,

       15   if we turn the PA upside down and find additional

       16   transfers, I don't know it's going to add anything to

       17   the plaintiffs' argument that there were transfers.                  The

       18   transfers are either, you know, proper or not, and Judge

       19   Lagueux will decide that in some context , I suppose, but

       20   there's no need for us to go searching every drawer in

       21   the PA to find every document relating to every transfer

       22   from 2006 when they 've already got substantial evidence

       23   that such transfers had taken place.

       24            10.D is related.        10.D asks for all documents --

       25   I'm on page 26, your Honor.           This one was amended , so
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        1   the corrected one is on page 26.             All documents relating

        2   to, referring to, and/or evidencing all decisions to

        3   carry out the transfers and/or payments.               I'm not sure

        4   what this adds, referred to in the previous section C,

        5   including, but this is a big addition , all documents

        6   evidencing the name , title and present whereabouts of

        7   any person involved in making, participating, and/or

        8   authorizing such transfers and/or payments.                Again, this

        9   is one that is spaciously overbroad.              It would require

       10   us to, first of all, figure out who was involved, but

       11   then we have to give them every document that has that

       12   person's name on it regardless of whether it has any

       13   bearing on the case .        That's what it literally calls

       14   for.

       15             THE COURT :    Mr. Hill, you have 10 minutes,

       16   maximum .

       17             MR. HILL:     Your Honor, I will try and expedite

       18   myself.     10.E, all documents constituting the PIF

       19   investment fund, articles of association , and/or bylaws .

       20   I believe they already have them.             I'm not sure why we

       21   need to be compelled to produce them, and they should go

       22   get them from the PIF, not from us.

       23             10.F, all documents relating to, referring or

       24   evidencing the PIF's governing structure and

       25   decision-making procedures.           Again, they should get them
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        1   from the PIF, and they already have the articles of

        2   association.       I'm not sure what more they need to prove

        3   that issue .

        4            10.G is all documents relating to, referring or

        5   evidencing any efforts to change the articles of

        6   association of the PIF on any date subsequent to the

        7   judgment.      Again , they have the amended articles.             They

        8   ought to get them from the PIF rather than from us, and

        9   again, this one has the same overbreadth problem as, I

       10   forget which number it is, but they ask for every

       11   document with the name of any person involved.                 So, if

       12   hypothetically, President Abbas was at the meeting where

       13   they were adopted, then I'd have to give them every

       14   document that has President Abbas' name on it under

       15   literal construction of this request.

       16            The next one, 10.J, asks for all documents

       17   related to , referring to, or evidencing all actions

       18   carried out by Mohammad Mustafah on behalf of the PA and

       19   all services rendered by Mohammad Mustafah here on

       20   behalf of the PA between July 2004 and the present day.

       21   Again, I don't know why July 2004 would be relevant.

       22   Even under the plaintiffs ' theory, it would be September

       23   2006 that would be relevant.           But again, why do we need

       24   every document about what Dr. Mustafah has done for the

       25   PA?    There 's no showing that that burdensome, you know,
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        1   search for every document that has Mustafah 's name on

        2   it, is justified for the discovery that they claim to

        3   need .

        4            And then let me deal with 10.K in the context of

        5   the Israeli proceedings.          10.L, which is on page 32, is

        6   documents relating to legal actions brought against

        7   Orascom by PIF, and 10.M is papers in those cases

        8   brought against Orascom by PIF.            Again, the plaintiffs

        9   have cases against both Orascom and PIF.               They can get

       10   those materials from those nonparties .             I don't know why

       11   they need to get them from us.            I also note that your

       12   Honor previously denied their request for communications

       13   between us and Orascom on the theory that it wasn't

       14   relevant, so I don't know why this would be anymore

       15   relevant than the communications that counsel for the PA

       16   had with Orascom that you previously denied the motion

       17   to compel on.

       18            I believe I'm now ready to talk about the

       19   thirteens.      Okay .    And the whole series of these,

       20   starting with -- I'm sorry, 13.A is again the same as I

       21   think 10.B, when we first became aware of the creditors'

       22   bill proceeding.         We became aware of it when Mr. Sherman

       23   got a copy of the creditors' bill.             There's no need for

       24   any further discovery on that.

       25            So, starting on 13.H, there's a whole series that
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        1   deal with the Israeli proceedings, and let me just make

        2   a general point about these rather than going through

        3   them individually.        So there is a procedure under

        4   Israeli law to get these materials from the Israeli

        5   courts, and that procedure requires the parties to be

        6   informed of that and have a say about whether a nonparty

        7   should get them, and I think the appropriate thing for

        8   the Court to do is, well, first of all, not allow this

        9   because it 's not relevant .         I mean, you're talking about

       10   seven years of litigation in Israel in other cases.                  I

       11   just can't fathom that those documents are going to be

       12   exhibits in January, or if they are, very many of them

       13   could possibly be.        So it's a tremendously burdensome

       14   request .    There's an affidavit in the record from the

       15   defendants ' Israeli lawyer that says it's going to take

       16   200 hours of time to sort through and make this document

       17   production .     I note that your Honor previously denied

       18   the plaintiffs' request to take a 30(b)(6) on this very

       19   issue of the Israeli litigation , so I don't know why it

       20   would be appropriate for us to have to produce hundreds

       21   or thousands of documents from other cases in Israel if

       22   we didn 't have to produce a witness to talk about the

       23   other cases in Israel.          I think your Honor has already

       24   ruled on the relevance of this to a certain extent.

       25            I'd also note that, you know, the plaintiffs had
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        1   Israeli counsel, some of which are counsel in these

        2   other cases.       It's my understanding that the plaintiffs '

        3   Israeli lawyers represent other plaintiffs in Israeli

        4   cases in thirteen cases against the PA and PLO.                 They

        5   obviously already have that information through their

        6   own counsel, and if there is no prohibition under

        7   Israeli law in sharing it, I don't know why they'd need

        8   us to produce it again.          They've clearly got a

        9   relationship with the affiant attached to their motion,

       10   Mr. Roth, at Exhibit E, who described some cases he's

       11   brought against the PA and the PLO.              I don't know why

       12   they couldn't get the material from him as opposed to

       13   from us .

       14            Let me make one point about a very specific

       15   request , which is 13.BB, I believe , which is on page 51

       16   of the exhibit I gave your Honor.

       17            First of all, I need to make a correction to our

       18   brief.      We said in our brief that this had been marked

       19   as an exhibit at a preliminary injunction hearing by PA ,

       20   PLO counsel.       That is a mistake .       It was not.      In fact,

       21   a different affidavit was marked by Mr. Wistow, so that

       22   should be stricken from page 26 of our opposition brief .

       23   But the point is, this is so clearly described that I

       24   have a strong suspicion the plaintiffs already have it,

       25   and in fact, it's my understanding that the plaintiffs'
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        1   Israeli lawyer is the lawyer representing the plaintiffs

        2   in this case that's described here in 13.BB.                And if

        3   they don't have it, Judge, I'll give it.               I'll give them

        4   this one.      This one is specific enough.           We can go find

        5   it.      But the notion that we need to produce all of the

        6   material from those other cases, I think, is

        7   inappropriate .

        8              The other thirteen all pertain to other old

        9   American litigation .        So there's the Achille Lauro case ,

       10   there's the PA, there's the PLO, US vs PLO case, there's

       11   the Mendelson case, there's the Danish road contractors

       12   arbitration proceeding in Europe, there's the Beucheit

       13   case .     Your Honor didn't allow deposition, 30(b)(6)

       14   deposition testimony on these topics.              These are other

       15   old litigations.        They're not likely to lead to relevant

       16   evidence that 's going to justify the burden of requiring

       17   us to go search old files and produce these old

       18   materials.      And as the plaintiffs acknowledge, in

       19   substantial part , these materials are publicly

       20   available, anyway.        If it's really important to know

       21   what orders were entered in the Achille Lauro case, they

       22   can go get them from the court that handled the Achille

       23   Lauro case , and they ought to do so.

       24              I believe I'm now ready to talk about the

       25   fourteenth , which is my last topic, and these are
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        1   similar .     They are parallel requests relating to four

        2   individuals, Mohammad Dahaln, Jabril Rajub, Tofee Tirawi

        3   and Amin el Hindi, and let me get to the first one which

        4   is on page 73 of my handout, request number 14.B.1, and

        5   the problem with all of these is that they're

        6   tremendously overbroad , and we've given them the

        7   documents sufficient to show what they claim they want

        8   to know .     This 14.B.1, I'll just use as an example, all

        9   documents relating to, referring to, and/or evidencing

       10   any and all positions, titles and/or jobs held by

       11   Mohammad Dahaln in the PA and/or PLO between January

       12   1st, '97 and June 6th, '96.           This facially calls for

       13   every document, every business document, at least, that

       14   has Mr. Dahaln's name on it, because any of those would

       15   relate to his job.        This would be like asking for any

       16   documents that relate to Brian Hill's job from my law

       17   firm .   You'd have to give them everything with my name

       18   on it.      It 's tremendously overbroad.         But the point is,

       19   if the issue is what job he had at the time, we already

       20   produced sufficient information to them to establish

       21   that , and we've never had a meet and confer where

       22   they 've told me, you know, I don't know what he was

       23   doing between June and July of '95.              If they ask me

       24   that , I would tell them.         And, in fact, I think a good

       25   example of this is, Mr. Dahaln, who's on our witness
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        1   list , and we're planning to have him testify in January,

        2   we initially thought he wasn't going to make it.                 We 've

        3   noticed his deposition .         I got an email from

        4   Mr. Strachman saying is Mr. Dahaln currently an officer,

        5   director or managing agent of the PA or PLO, and I wrote

        6   him back, I think the same day or the next day and said

        7   no, he's not.       So if the issue is were they officers at

        8   the time, what's their officer status today, they're are

        9   a lot less burdensome ways to get at that information

       10   than producing every document that's got Mr. Dahaln's

       11   name on it .

       12            May I just confer with my colleague to make sure

       13   I didn't overlook anything, your Honor?               I may be at my

       14   time limit , anyway.

       15            THE COURT :     You may.     Have you concluded,

       16   Mr. Hill?

       17            MR. HILL:      I think I'm done.        Thank you.

       18            MR. WISTOW:      May I have just a few moments , your

       19   Honor?

       20            THE COURT :     You may, Mr. Wistow.

       21            MR. WISTOW:      Thank you.      I want to say first of

       22   all --

       23            THE COURT :     Mr. Wistow, I'll try to be as close

       24   as I can on this .       You have a maximum of ten minutes .

       25            MR. WISTOW:      I won't take that.        And I don't mean
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        1   to impose on your Honor's patience .             I want to make

        2   clear why -- Mr. Hill indicated that he tried to speak

        3   with me , and I told him please put it in writing, and

        4   your Honor will recall that I was anonymously admonished

        5   by the Court for using vulgar language that was quoted

        6   in a letter, and I'm certainly not going to repeat the

        7   vulgar language, but it was a phrase that concluded with

        8   an accusation that Mr. Hill was a liar.               I'm sorry to

        9   bring this up , but he brought up the subject of why I

       10   insisted on a letter from him.            I felt that he had made

       11   a commitment to me orally, and completely breached it,

       12   that 's why I used that vulgar phrase that he quoted to

       13   your Honor , and that's why I insisted on a letter.

       14            Now, if you listen to Mr. Hill's argument, he 's

       15   taken everything we've asked and reduced it by the

       16   process of (inaudible).          There's literally nothing we've

       17   asked for with one or two exceptions that isn't too

       18   broad.     If he keeps saying to the Court that he doesn't

       19   have certain items, if he would just state categorically

       20   in response to the items that we moved to compel that

       21   they don't exist , we would not pursue, and would not

       22   have pursued those items here.            We would not.

       23            Now he tells us that Al Hindi, for example , died ,

       24   I believe he said on August 17, 2000, I don't read the

       25   obituaries in the west bank, or Gaza, or wherever he is ,
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        1   and he could have at least dropped us a letter, or done

        2   something, to tell us that Al Hindi had passed away.

        3   That goes for many of the items he talks about here.                   He

        4   could have simply sent a letter explaining what his

        5   position is.       The difficulty with trying to negotiate

        6   with Mr . Hill on these meet and confers is, I hate to

        7   say it, he 's been completely and totally unyielding.                  He

        8   only goes one way.        There is never a compromise that

        9   he's willing to make that we've been able to accomplish ,

       10   and that's why we're here today.             And it really is

       11   painful to hear him say that we haven't entered into

       12   attempts to meet and confer.           They've been the most

       13   frustrating experiences I've ever had.

       14            I agree that there are certain things here that

       15   are difficult to produce, that require a lot of work ,

       16   but this is a big big case, and I need to emphasize

       17   these defendants are asking the Court to vacate a

       18   judgment that 's been in place for years and years and

       19   years.

       20            By the way, he says that -- I think it's like the

       21   essence of his argument, this is exemplary of what he

       22   says , why do we need the transfers from the PIF to the

       23   PA?    Well, we only have some.          Why do we need them?

       24   Well , one thing is, Judge Lagueux, within the last

       25   couple of weeks, said that if we could display that
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        1   money was being drained out of the PIF, that he would

        2   consider entering a permanent injunction at the hearing.

        3   That 's why we need it.         I don't even know how to

        4   respond .     I'm at a loss to say, well, you have some of

        5   the information, why do you need the rest.                How big a

        6   deal is it to get the information of the transfers from

        7   the PIF to the PA.        They ought to be in one single

        8   place.      There 's got to be accounts .        He says we already

        9   have the PIF articles, why are we asking for the

       10   articles?      Well, the reason we're asking for the

       11   articles is I know from my experience with Mr. Hill that

       12   at the hearing in January , if we attempt to introduce

       13   the articles that we have, he's going to say who

       14   authenticates those ?        Where did those come from?          I

       15   don't agree those are the articles .             And that's why I

       16   want them.      I want them to produce them so I can say at

       17   the hearing these are the articles , your Honor.                They

       18   were produced by the defendants .            He says, well, why

       19   don't we get them from the PIF?            He has them.       Your

       20   Honor has seen the letter from the president of the PA,

       21   Mohammad Abbas, where he wrote to Condoleezza Rice in

       22   November of 2006 where he said that the PIF, the PIF is

       23   under, I quote, the supervision of his office, the PLO

       24   president's office.         They have these record.         So to

       25   chase us somewhere else, it's just typical of
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        1   everything , the frustration that we've had.               What

        2   they 've done is they produced, I would say, more than

        3   10,000 pages of pleadings from American cases that are

        4   readily available to us, and probably 30 pages of real

        5   documents out of all the things we've asked for in the

        6   past .   I ask your Honor to please look at these

        7   requests.      Some of them are broad, I admit it, but I

        8   don't think they 're excessively broad.             For example, the

        9   proceedings in the Israeli courts during the period of

       10   time that they were claiming they didn't know how to

       11   defend these cases, we would like to be able to show

       12   they had a structure in place.            They had represented to

       13   the circuit court and to this Court that they were an

       14   immature organization with no organized structure in

       15   place to handle these.          We would like to attempt to show

       16   that that's not true, and the Israeli documents are

       17   going to be very important in that regard.                    Now my

       18   brother says, well, we have some of them from a witness

       19   who we may use.       Indeed, that's the fact witness that we

       20   may or may not use, Roland Roth.             Yes, he has some of

       21   those documents.        What we'd like to show the Judge in

       22   January that there's hundreds of these things, and

       23   they 're readily available to them.

       24            Then he says , for example, we already have the

       25   affidavit, very specific affidavit .             We've identified
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        1   it.      So clearly we must have it.         Yes, we do have it ,

        2   but I don't want to be confronted in January with an

        3   argument what is this thing?           Where did it come from ?

        4   And who's authenticated it?           So we asked them to produce

        5   it.      It 's an affidavit they gave to an Israeli court .

        6              Your Honor, the deponents that were ordered to

        7   come here, that's the last, the fourteens, that's those

        8   people that we're talking about, the ones that were

        9   ordered to come, and I believe out of the ones that were

       10   ordered , I believe they're now all dead with the

       11   exception of Dahaln , and so we think we're entitled to

       12   get the information we ask for under these very unusual

       13   circumstances .      I know --

       14              And let me say one further thing about the fact

       15   that we didn't include all of these requests within the

       16   body of our memo .       I don't even know how to respond to

       17   that .     We attached the next exhibit.          It would have made

       18   the memo a hundred pages long.            So, yes, your Honor has

       19   to go to the exhibits to see what we're referring to ,

       20   but that's the kind of objection we've been confronted

       21   with .

       22              I respectfully ask your Honor to, I know how

       23   meticulous you've been in this case, to look at our

       24   requests, and to look at them in a fashion not to strain

       25   reason, to make them utterly unreasonable on their face ,
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        1   which is what my brother does.            It just seems we're not

        2   capable of making a request that he is not equally

        3   capable of making it seem like we're completely out of

        4   balance in what we're asking for.             We tried to be

        5   restrictive as much as possible in the spirit of what

        6   your Honor ordered, and I respectfully ask your Honor to

        7   go down the list of things we asked for and

        8   independently decide which is relevant and which not .

        9            I do admit, by the way, there were a couple of

       10   mistakes we made .       We did ask for something twice.            We

       11   shouldn 't have.       And there were some other mistakes we

       12   had, but this is all part of what we've been confronted

       13   with in this brief period where we really are, I used

       14   the word before, scurrying, and I'll repeat it,

       15   scurrying around trying to keep up with what's been

       16   going on here .      Thank you, your Honor.

       17            THE COURT :     Thank you, Mr. Wistow.         Mr. Hill,

       18   with regard to Mr. Wistow's point that as to documents

       19   that you say they already have, the reason he wants

       20   defendants to produce them is so to avoid objection from

       21   you at the hearing in January that the copy they're

       22   offering is not authentic or questionable, would you

       23   respond to that part of the argument?

       24            MR. HILL:      Judge, I wish I heard this before

       25   today.     There has been an occasion where there was an
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        1   issue about whether an email that one of my partners ,

        2   Charles MacAleer , who happens to be here today, had sent

        3   in another case.        It was an authentic email, and I think

        4   it was Mr. Strachman who emailed me and said is this an

        5   authentic email that Mr. MacAleer sent?               And I emailed

        6   him back and said, yes.          So, I mean, these can be

        7   resolved through a stipulation about authenticity .                 I've

        8   instead got a document request that doesn't ask for me

        9   to agree that these are authentic copies of the articles

       10   of association.       It asks me to produce all documents

       11   related to the articles of association.               That's my point

       12   about burden.       There's been no effort to confer and

       13   reach reasonable resolutions to these things.

       14            Your Honor, while I'm here, I'd note two other

       15   things just in response to Mr. Wistow, if your Honor

       16   will permit me.       On the issue of Mr. Al Hindi's death, I

       17   think it's apparent that the plaintiffs did know he was

       18   dead .   If you look at their request number 14, there are

       19   four sets of parallel requests of five inquiries, the

       20   last one of which is always give me the person's current

       21   work and home address.          They deleted that for

       22   Mr. Al Hindi, so I believe they did know he was dead .

       23   I'm not in a position to say for sure.

       24            And on the topic of deaths, my understanding is

       25   that the list with Mr. Dahaln, Tirawi and Rajub are
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        1   alive, last I knew.         That's all I have, your Honor.

        2            THE COURT :     And those are three individuals that

        3   were sought to be deposed back in 2004?

        4            MR. HILL:      That's correct, and one of them is on

        5   our witness list and we anticipate he will testify live

        6   in January.

        7            THE COURT :     All right, thank you, Mr. Hill.            All

        8   right, I'll take the second motion under advisement.                   We

        9   will proceed now to the third motion scheduled for

       10   hearing , that is document 604 which is plaintiffs '

       11   judgment creditors motion for protective order, and

       12   order quashing deposition notices, or alternatively for

       13   an order of preclusion .

       14            MR. WISTOW:      Thank you, your Honor.

       15            THE COURT :     All right, Mr. Wistow, I'll hear you

       16   on the third motion .

       17            MR. WISTOW:      Your Honor has already heard perhaps

       18   too much that we were supplied with a list of expert

       19   witnesses on October 15th, six and a half years after

       20   the judgment was entered in this case.              We responded .

       21   We provided the experts within 30 days following that

       22   October 15 th, really in an excess of caution, and

       23   maintaining expressly when we produced the experts

       24   reports that we did not believe that Rule 26 applied .

       25   We expressly said that.          But we didn't want to run the
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        1   risk that a court might disagree with us and so we came

        2   up with those things.

        3            We've decided that from our perspective , we did

        4   not wish to take depositions of the other side, even

        5   30(b)(6) depositions, although at first we intended to

        6   do it.     The various reasons for that, some of them

        7   involve our work product and our strategy, but I can say

        8   that one of the reasons was so that we were not

        9   confronted with the argument that we were required to

       10   produce experts because we had taken certain positions.

       11   That 's a minor issue in the thing.            Basically we made a

       12   decision, it's common in Rhode Island, not to take

       13   expert depositions in the other side.              For example, many

       14   lawyers who do medical malpractice cases in Rhode

       15   Island, many of them do not do expert depositions , many

       16   of them do , depending on the case.            We decided in this

       17   case not to do this .

       18            In any event , after we supplied the names of our

       19   experts , which we contend we did really pursuant to

       20   interrogatory questions and not 26, we were given a slew

       21   of notices to depose our experts, many of which were

       22   literally on the same day and at the same time, and we

       23   moved for a protective order, and really the basis for

       24   the protective order is quite simple, it's that Rule

       25   26(a)(2), which is the only rule that provides for the
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        1   taking of deposition of experts , specifically talks

        2   about experts who are going to be used at trial.                 It

        3   uses the term trial , and that is not a simply technical

        4   position we're taking.          Wright & Miller in Federal

        5   Practice and Procedure , Section 2031.1 says Rule

        6   26(a)(2) does not apply to hearings on motions , and

        7   26(a)(2), of course , is the provision for taking

        8   depositions of experts.          And, in fact, Wright & Miller

        9   says , and I quote:       The disclosure requirement is keyed

       10   to trial, unquote, and may not apply to use of experts

       11   in various pretrial or nontrial activities.                Citing a

       12   case UAW vs General Motors Corporation, Eastern District

       13   of Michigan, which was affirmed by the Sixth Circuit .

       14            Now, if you take a look, your Honor, at Rule 33,

       15   which relates to interrogatories, it makes no such

       16   restriction about using interrogatories only for trials .

       17   Similarly, for Rule 34, which is request for production

       18   of documents.       Same thing for Rule 35, which is physical

       19   or mental examination.          Same thing for Rule 36, for

       20   request for admissions .         All of those, if you look at

       21   them separately, talk about using interrogatories ,

       22   document requests, requests for physical exams, really

       23   in any kind of actions.          The only rule that talks about

       24   use at trial is Rule 26.          And by the way, the reason for

       25   that may well be because for many many years after the
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        1   rules were promulgated you could not take the deposition

        2   of an expert at all, and obviously that rule changed , I

        3   believe , quite a long time ago, 1970, but when it

        4   changed , and it allowed the taking of depositions , it

        5   was very clear that it was intended to be for those

        6   experts who were going to testify at trial.

        7            Now, my brothers have cited some cases in their

        8   opposition to our motion for protective order, which are

        9   completely beside the point.           In two of the cases where

       10   the parties were sanctioned, it was because the lawyers

       11   for the adversary had represented and agreed to produce

       12   certain people and then didn't.            Indeed, two of their

       13   cases don't even involve experts at all.               Their failure

       14   to produce employees at deposition .             There's no question

       15   that -- I'm not suggesting, by the way, that we don't

       16   control the experts to a certain extent.               I would not

       17   insult the Court 's intelligence by that.              What I am

       18   saying is we have a right to say that the discovery here

       19   has to be in accordance with the rules.               Judge Lagueux

       20   did not in any way, shape or form, change that.                 He said

       21   there would be discovery in the case, and discovery

       22   would close on a certain day, and we're ready, willing

       23   and able to abide by that, but we also think that the

       24   rule regarding experts, I'll read it to the Court, it's

       25   facially directly on point: A party may depose any
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        1   person who has been identified as an expert whose

        2   opinion may be presented at trial, and it's not a flight

        3   of fancy that I'm alluding to.            I quoted you from Wright

        4   & Miller where they make that distinction between trial

        5   and hearing.

        6            I would also again ask your Honor to take a look

        7   at the language of when you can ask interrogatories,

        8   when you can do document requests, when you can do

        9   physical exams, when you can do requests for admissions ,

       10   and your Honor will see that the rules make a

       11   distinction.

       12            In any event , we voluntarily produced also

       13   reports of experts we're going to use to testify on

       14   legal matters, straight legal matters , Israeli law, and

       15   under Rule 44 .1, it's our position we didn't even have

       16   an obligation to produce reports at all on those issues ,

       17   and it's a fortiori as to those witnesses.

       18            THE COURT :     I'm sorry, Mr. Wistow, I'm not sure

       19   I'm catching the distinction .           You're talking about

       20   those witnesses being different from the other

       21   witnesses.      Tell me about the two groups of witnesses

       22   you're drawing a distinction between.

       23            MR. WISTOW:      Okay.    Expert witnesses who are

       24   going to testify about matters of Israeli law versus

       25   other experts who will testify, for example , about the
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        1   connection between Hamas and the PLO and the PA, and the

        2   cooperation between them.          That's the distinction I'm

        3   drawing , and that distinction is embodied in, I believe,

        4   in Rule 44 .1 where we simply, if we wished, could submit

        5   just plain old affidavits to the Court at the time of

        6   hearing , without even producing the expert.               The reason

        7   for that, your Honor, is that -- I'll just read briefly

        8   from the rule : A party who intends to raise an issue

        9   about a foreign country's law must give notice by a

       10   pleading or other writing .          In determining foreign law,

       11   the Court may consider any relevant material or source,

       12   including testimony whether or not submitted by a party

       13   or admissible under the Federal Rules of Evidence .                 The

       14   Court's determination must be treated as a ruling on a

       15   question of law.        So there is a distinction .         I don't

       16   want to burden the Court with making too big a deal out

       17   of the distinction.         I think it puts an a fortiori spin

       18   to the experts on foreign law, but I don't think that's

       19   a sufficiently significant point to burden the Court

       20   with asking a distinction be made.

       21            I want to point out one other thing, your Honor,

       22   the rules really do recognize the difference between a

       23   trial and motions.        For example , Rule 43 says -- it's

       24   entitled Taking Testimony , and it starts off: (A) in

       25   open court , at trial, at trial, the witness 's testimony
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        1   must be taken in open court unless a federal statute ,

        2   the Federal Rules of Evidence, these rules or other

        3   rules adopted by the Supreme Court provides otherwise,

        4   and it goes on.        It talks about at trial.

        5            Then, (c), evidence on a motion, when a motion

        6   was, in fact, outside the record, the Court may hear the

        7   matter on affidavits or may it wholly or partly on oral

        8   testimony or on depositions.           The rules make a

        9   distinction between a trial and a motion, and while

       10   there's going to be a hearing with evidentiary aspects

       11   of it, to it, rather, it still remains a motion, a

       12   motion to vacate the judgment, and under the rules,

       13   specifically Rule 43, you may have a motion where there

       14   is evidence taken, it's still a motion.               It's not a

       15   trial.     And we take the position, your Honor, that we

       16   have no obligation to produce these experts , and indeed

       17   the rules don't allow for it and we'd ask for a

       18   protective order in that regard.             We didn't take the

       19   extreme position of just refusing to do it.                We're not

       20   going to act at our peril when the matter is serious .

       21   Having said all that, we ask the Court to agree with us

       22   that we 're under no obligation to produce expert

       23   witnesses.

       24            THE COURT :     Thank you, Mr. Wistow.         Mr. Hill.

       25            MR. HILL:      Your Honor, I'm confident this one
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        1   won't take as long as the last one.

        2            Let me start with again a big picture comment

        3   which is that this has, to a certain extent, been

        4   overtaken by the close of discovery.              As a practical

        5   matter now we can't take the depositions because

        6   discovery closed on November 19th.             On November 29th , in

        7   accordance with the Court's deadline for motions, we did

        8   file a motion to exclude the testimony of any of the

        9   witnesses, the expert witnesses , that the plaintiffs

       10   have identified but did not make available for

       11   depositions.       So, just to be clear, the relief we want

       12   from the inability, from the failure of the plaintiffs

       13   to produce the witnesses for deposition is that they

       14   will not be allowed to testify at the hearing, and

       15   that 's consistent with the general equitable Rule 37

       16   principles that if you don't make discovery available

       17   you can't rely on it at the hearing.

       18            Then let me make this big picture comment.                So

       19   we're reduced to arguing about the meaning of Rule 26(b)

       20   --

       21            THE COURT :     Let me ask you a question, Mr. Hill.

       22            MR. HILL:      Yes, sir.

       23            THE COURT :     If I grant your motion, does that

       24   mean you do not intend to take the depositions but

       25   simply would perhaps take my order and show it to Judge
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        1   Lagueux and say, Judge, you should exclude, grant my

        2   motion to exclude the testimony because Judge Martin

        3   found that the plaintiffs wrongly failed to produce

        4   these witnesses for deposition.            You don't intend to try

        5   to actually depose these people at this point.

        6            MR. HILL:      Well, it does depend on your Honor 's

        7   ruling, and that 's a good point that I should make.                  So

        8   it's not my motion, it's their motion, so I'd ask you to

        9   deny the motion under any circumstances, but --

       10            THE COURT :     Okay, thank you.        You're right on

       11   that point , Mr. Hill.          It's their motion, they're

       12   seeking a protective order.           If I deny the motion for

       13   protective order , I'm asking you, do you intend to

       14   depose these people or are you simply going to take the

       15   ruling and use it as support for your other motion?

       16            MR. HILL:      Yeah.     What I would ask the Court to

       17   do is deny the motion, and if Judge Lagueux grants the

       18   motion to exclude, obviously I'm quite happy.                 These

       19   people are not going to testify at the hearing , which I

       20   think is a fair result.           If on the other hand Judge

       21   Lagueux is going to deny the motion to exclude and these

       22   people are going to be allowed to testify at the hearing

       23   in January, I will want them to be produced so I can

       24   examine them beforehand.           And let me just give your

       25   Honor an example of why.           Mr. Wistow related the
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        1   depositions that have been taken in this case, and as it

        2   turns out, over the 5 and a half month discovery period

        3   only 2 depositions were taken, the deposition of the

        4   prime minister which the plaintiffs noticed , and a

        5   deposition of one of these seven experts , which the

        6   plaintiffs noticed, and so what's going on here is when

        7   I want to take a deposition of people that are going to

        8   testify at the hearing, the plaintiffs say, I'm sorry,

        9   you're not entitled to do it, but when they want to take

       10   a deposition of somebody who's going to testify at the

       11   hearing , they voluntarily produce this person, and of

       12   course we attend it because we got the notice that we

       13   had to do so, and I think this goes more to the motion

       14   to exclude, but this shows why we wanted the

       15   depositions.       We learned among other things at this

       16   deposition of this expert, Offir Saad, that Mr. Saad had

       17   not written his own report, that it was written by the

       18   plaintiff Israeli lawyer and sent to Mr. Saad for his

       19   review.     He gave him a little feedback.            The lawyer made

       20   changes and then Mr. Saad signed it.              This is

       21   secondhand .     I wasn 't at the deposition.          This is what I

       22   understand from the people that were there.                 So that 's

       23   an example of why we needed to take these depositions,

       24   and I think the overall equitable point is that if these

       25   people are going to appear at a hearing, we should have
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        1   had an opportunity in discovery to take their

        2   depositions.       Now I realize they were disclosed

        3   relatively late with only a week left, that's why they

        4   got notice for the last week of deposition.                Some double

        5   tracking was necessary when you have seven witnesses and

        6   only five business days to do them in, and some less

        7   because we got some of the reports on Monday the 15th,

        8   and discovery closed on Friday the 19th.               So we were

        9   trying to avoid the prejudice of not having an

       10   opportunity to examine the people before the hearing .

       11   That 's why we noticed the depositions in the fashion

       12   that we did.       So why don't we go into the main event , I

       13   guess, of which is are we entitled to it, and --

       14            THE COURT :     You noticed these depositions were in

       15   the United States, correct?

       16            MR. HILL:      Well, actually I noticed some in

       17   Israel because the history of this, Judge, is that at

       18   the October 25th hearing when we were all here in the

       19   courtroom, we came in that morning , and we were given

       20   deposition notices by the plaintiffs that morning , and

       21   four of those were for expert witnesses, we didn't even

       22   have reports at that point in time, that the plaintiffs

       23   had noticed to take depositions of in Israel.

       24   Subsequently, they decided they didn't want to take

       25   depositions of three of those people, they only wanted
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        1   to take the deposition of Mr. Saad, which actually

        2   happened last Wednesday, the 1st, by agreement of the

        3   parties .    So when they withdrew the notices for the

        4   other three, we issued notices for those three people in

        5   Israel, and the plaintiffs said they're not going to

        6   show up , and then on the 12th, I got a list of six

        7   additional witnesses, not reports.             I only got one

        8   report on the 12th.         Six additional witnesses, two of

        9   which are located, as I understand it, in Providence ,

       10   and I noticed their depositions for here in Providence,

       11   and four of which, I'm not quite sure of everyone 's

       12   location, I think two are located in Washington.                 I

       13   noticed their depositions in Washington.               And the last

       14   two, I wasn't quite sure where they were because the

       15   plaintiffs didn't tell me their addresses.                I noticed

       16   them for Washington .        So, from my perspective, you know ,

       17   I'm being told a week before discovery closes, here are

       18   six additional expert witnesses , and we're just trying

       19   to cure the prejudice that we're necessarily going to

       20   suffer if we can't depose them before the period ends.

       21   And the argument that's being made to you now is, as I

       22   think Mr. Wistow acknowledged, rather technical, and I

       23   think there's a simple explanation for why the rule

       24   talks about deposing somebody who is going to testify at

       25   trial, and it is the following.            You know, 26(b)(4)(A)
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        1   and (B) distinguishes between two types of experts, as

        2   your Honor is undoubtedly aware.             There are 26(b)(4)(A)

        3   experts , experts who may testify, and 26(b)(4)(B)

        4   experts , experts employed only for trial preparation .

        5   These are typically thought of as the consulting expert

        6   versus the testifying expert.            And now it is true that

        7   the language of 26(b)(4)(A) says a party may depose any

        8   person who has been identified as an expert whose

        9   opinions may be presented at trial.              This is in contrast

       10   to 26(b)(4)(B) which says ordinarily a party may not by

       11   interrogatories or deposition discover facts known or

       12   opinions held by an expert who has been retained

       13   especially employed by another party in anticipation of

       14   litigation or to prepare for trial and who is not

       15   expected to be called as a witness at trial.                So I would

       16   submit that the distinction in 26(b)(4)(A) about trial

       17   is not about trial versus hearing, it's about testifying

       18   at trial versus testifying in anticipation of trial.                   So

       19   I don't think you can read over much into the use of the

       20   word trial in 26(b)(4)(A).

       21            But let me make the bigger point which is this,

       22   if the plaintiffs are right, Judge Lagueux entered an

       23   order in June pursuant to Rule 16 saying all discovery

       24   had to be concluded by November 19, 2010.               If he is

       25   right, if the plaintiffs are right, that means that we
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        1   will be going to a hearing in January where we will be

        2   cross-examining, I guess six, because they noticed one

        3   of the seven for themselves, six people that we never

        4   had an opportunity to depose during the discovery

        5   period, and the plaintiffs' position appears to be that ,

        6   well , because that's a motion, that's fine, and I

        7   respectfully submit that's not what Judge Lagueux had in

        8   mind .   I mean , this hearing in January may not be a

        9   trial in the sense of, you know, a typical jury trial,

       10   but it's very much like a trial.             He's making factual

       11   findings.      He 's hearing live evidence .        If I may, I left

       12   something at my desk, your Honor.             And I don't know that

       13   it's materially distinguishable from any other bench

       14   trial that you might have where this would apply.                  I'm

       15   going to quote Mr. Wistow from the November 17, 2010

       16   hearing before Judge Lagueux .           This is on page 5 of the

       17   transcript at line 15: Your Honor, let me express my

       18   concern about the issue.          We're down for trial January

       19   18th , as your Honor knows, on the motion to vacate.                 So ,

       20   I mean, you know , this technicality about whether this

       21   is a trial versus a hearing is really pushing a

       22   technical point here.         We're going to have an

       23   adversarial hearing in January where Judge Lagueux is

       24   expecting to hear live testimony, and make findings of

       25   fact , based on that testimony and the documents that are
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        1   admitted into evidence , and the plaintiffs are asking

        2   your Honor to rule that because 26 uses the word trial,

        3   it means that they don't have to produce their experts

        4   for deposition unless, of course, they want to depose

        5   their own experts, which heightens the unfairness of

        6   what 's going on here.

        7            I'll also note that we separately moved on the

        8   29th to exclude these witnesses on Daubert grounds, and

        9   for a number of them we had a hard time coming up with

       10   our Daubert grounds because we couldn't examine them .

       11   The typical discovery process is you get a disclosure

       12   from a witness, an expert witness, and then you can

       13   examine them, and then you can file your Daubert motion ,

       14   and the Court can perform its gatekeeper function of

       15   determining whether this is relevant and reliable and

       16   otherwise admissible.         All of that has been truncated

       17   here because the plaintiffs waited until the end to

       18   produce their reports and then wouldn't make the people

       19   available for deposition.          So I'd respectfully submit

       20   that a motion for protective order is not justified.

       21            Let me make a point about Rule 30 which is

       22   different than Rule 26, of course.             Rule 30(a)(1) says a

       23   party may, by oral questions , depose any person,

       24   including a party without leave of court except as

       25   provided in Rule 30(a)(2) which doesn't apply.                 The
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        1   deponent's attendance may be complied by subpoena under

        2   Rule 45 .    And, Mr. Wistow is right, I do not have a case

        3   that says a party has to produce an expert under Rule 30

        4   for deposition because you typically do it under Rule

        5   26(b)(4)(A), and there's no dispute about that.                  But the

        6   fact of the matter is, these are people that the

        7   plaintiffs are paying to give testimony.               They're

        8   clearly within their control .           They say as much in their

        9   opening brief , or they say if your Honor orders them to

       10   produce them, they will.          So these are not people that

       11   the plaintiffs could not have produced for deposition.

       12   These are plaintiffs (sic) that the people (sic) didn't

       13   want to produce for a deposition, and I think

       14   unfortunately , as Mr. Wistow was explaining part of the

       15   rationale, he was suggesting that he didn't take our

       16   experts in part because they wanted to maintain this

       17   position.      That's not what civil discovery is suppose to

       18   be about.      The parties are suppose to make disclosures.

       19   They 're suppose to discover the facts before you get to

       20   the trial or evidentiary hearing, or how you might

       21   characterize January's proceedings , and that helps the

       22   Court, because the Court is not then faced with us doing

       23   an exploratory cross-examination.             The Court's got a

       24   real cross -examination because we've already done a

       25   deposition , and so for those reasons I would ask that
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        1   the Court deny the motion for protective order.

        2            There is a cross-motion which I don't think

        3   Mr. Wistow mentioned seeking to exclude all evidence

        4   from us .    I don't know how seriously this is pressed ,

        5   but I mean I'll just make the point that under Rule 37

        6   in order to exclude evidence from the defendants for

        7   failure to provide initial disclosures there would have

        8   to be some prejudice to the plaintiffs.               There is none

        9   here .   They sent us interrogatories saying who your

       10   witnesses are.       We answered them.        We supplemented them .

       11   They asked us what our exhibits were.              We produced them .

       12   So there's no prejudice that would merit some preclusive

       13   sanction against the defendants .

       14            THE COURT :     The cross-motion is not before me .

       15            MR. HILL:      The cross-motion is not before you ,

       16   okay .   Well, then you don't need to --

       17            THE COURT :     Not this afternoon , certainly,

       18   Mr. Hill.

       19            MR. HILL:      Then you don't need to have me talk

       20   about that .     Thank you, your Honor.

       21            MR. WISTOW:      I'll be very brief, your Honor.

       22            THE COURT :     All right, Mr. Wistow.

       23            MR. WISTOW:      Actually , the motion for protective

       24   order asks alternatively, if the Court believes that

       25   Rule 26 applies, that there be a preclusion against the
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        1   defendants in this case because they did not produce the

        2   --

        3            THE COURT :     That's included within the motion .

        4            MR. WISTOW:      It is within the motion.

        5            THE COURT :     All right, thank you for alerting me

        6   to that fact.

        7            MR. WISTOW:      And, by the way, my brother says

        8   there's no prejudice because they supplied all this

        9   information.       He said that within a minute or two after

       10   commenting that we waited until "the last minute" to

       11   give our experts.        I would remind the Court, we got

       12   their expert reports October 15th.             They've been adding

       13   witnesses through, I told you, most recently November

       14   11th .   They didn 't make the initial disclosures.              I'm

       15   not saying they have to.          I'm saying if Rule 26 applies,

       16   then it applies for them, also.            It's staggering to me,

       17   your Honor , to hear Mr. Hill say that I'm being

       18   technical.      If anybody is being technical in this case,

       19   in a million places , it's Mr. Hill, and he's entitled to

       20   be technical.       I'm entitled to be technical , also.            We

       21   didn 't -- and, by the way, I misspoke that day when we

       22   were in front of Judge Lagueux, we were there on a

       23   preliminary injunction hearing, and I used the term

       24   "trial" once, and I misspoke .           We were very careful,

       25   always in writing, to take the position that our
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        1   disclosures were not intended to be under 26(a).                 That

        2   cannot be (inaudible).          So if I'm going to be punished

        3   for that error that day, I think that that's a bit much .

        4   The depo that we did take of Saad, one of our experts,

        5   was a de bene esse depo.          It was not a discovery depo.

        6   We're not taking depositions of our own experts for

        7   discovery purposes.         We did it because Mr. Saad cannot

        8   be in the hearing in January , cannot, so we felt his

        9   testimony was important, and we took his depo for that

       10   reason.     It was not a discovery depo.

       11             By the way, the statement that's made, I wasn 't

       12   present at the hearing in the deposition , either, but my

       13   understanding of how the report of Mr. Saad was

       14   generated was contrary to what Mr. Hill says.                 Mr. Saad ,

       15   who is not a fluent English speaker, he speaks English,

       16   he told an Israeli attorney what to put in the affidavit

       17   specifically.       That Israeli attorney did so, sent it to

       18   Mr. Saad.      Mr . Saad made changes in the English because

       19   he has a good enough English to understand what it says ,

       20   although he prefers not to write it in the first

       21   instance.      He did make changes and then confirmed under

       22   oath that the affidavit, excuse me, the report,

       23   represented his honest beliefs.            So I think it's totally

       24   unfair to make the suggestion that Mr. Hill did.                 And I

       25   stand on what I said, your Honor.             We filed in good
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        1   faith a motion for protective order.              We're not trying

        2   to delay anything.        We're the first to recognize that if

        3   we're wrong about our interpretation of the law, your

        4   Honor will say so and we'll do the best we can to remedy

        5   it.    But we were not trying to pull any fast ones about

        6   giving this information at the last -- that is so

        7   painfully here, Judge.          We get all of those expert

        8   reports on October 15th.          We give everything back to

        9   them , and you've seen what those reports look like,

       10   within 30 days, and they say we waited until the last

       11   minute.     On the contrary, we believe that the dates on

       12   their expert reports are all October 15th.                The day they

       13   were submitted indicates that they told their experts to

       14   hold off giving the reports.           Thank you, your Honor.

       15             THE COURT :    All right, thank you, Mr. Wistow.

       16   I'll take these matters under advisement .              I'll issue

       17   written rulings.        I intend to work on this immediately.

       18   I recognize these matters are pressing.               Because they're

       19   pressing, my ruling will be similar to the previous

       20   orders I've issued, which means they'll be relatively

       21   brief.     I'll try to put forth my reasons for ruling as I

       22   do, and I'll try to get them out promptly.                If the

       23   plaintiffs are able to submit those documents this

       24   afternoon, do so.        If they're not, Monday is acceptable ,

       25   Mr. Strachman .      I'm referring to the in camera review.
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        1   All right, this will conclude the hearing.                The Court

        2   will be in recess.

        3   (RECESS )

        4

        5

        6

        7

        8                      C E R T I F I C A T I O N

        9   I, court approved transcriber, certify that the

       10   foregoing is a correct transcript from the official

       11   electronic sound recording of the proceedings in the

       12   above-entitled matter.

       13

       14

       15   /sJOSEPH A. FONTES/

       16   COURT REPORTER

       17   DECEMBER 9, 2010

       18   DATE

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